Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 1 of 150
                              PageID: 83121




                         Exhibit 1
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 2 of 150
                              PageID: 83122
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 3 of 150
                              PageID: 83123
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 4 of 150
                              PageID: 83124
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 5 of 150
                              PageID: 83125




                         Exhibit 2
3/22/23, 4:18Case
             PM   1:19-md-02875-RMB-SAK                               Document      2325-3
                                                                       Welcome to USC             Filed 04/11/23
                                                                                      Master's of Regulatory Science                     Page 6 of 150
                                                                       PageID: 83126
  The Wayback Machine - https://web.archive.org/web/20101126025621/bttp://regulatory.usc.edu/program_                                       drs.ab
                                                                                                                                                 s




      PROGRAMS & COURSES




      SECTIOHUNKS                 Doctor of Regulatory Science (DRSc)

                                  A doctorate designed specifically for Regulatory Professionals!
      ABOUT OUR PROGRAM           The University of Southern California is pleased to announce the launch of its new professional doctorate program in
      PROGRAM REQUIREMENTS        Regulatory Science (DRS). Regulatory Science addresses the art and science of developing medical products and
      •    DOCTORATE              foods through the complex regulatory and reimbursement paths required to market such product internationally. The
      ■    MS PROGRAM             proposed 64-unit professional doctorate is a novel, specialized program of study that cultivates research, leadership
      ■    CERTIFICATES           and inquiry skills for advanced students in the emerging profession of global regulatory science. It is designed to
      STUDY OPTIONS               produce graduates who have a particular expertise in strategic management, policy development and research
      COURSE DESCRIPTIONS         assessment and who will work in senior positions in the public sector, academia and the medical products industry.
      COURSE SCHEDULE             Participants in this program will take a set of interdependent courses that extend from a strong core of basic regulatory
      ORANGE COUNTY               science coursework and additionally focus on three main areas-global product strategy, product lifecycle strategy, and
                                  project and personnel management. Students admitted with advanced standing after foundational coursework at the
                                  MS level will participate as a cohort that typically has a two-year cycle of classes and an additional year of dissertation
                                  development. The program has been designed to meet the needs of individuals who are already working full-lime
                                  outside of the university in positions in which they have substantial leadership or managerial responsibilities. The
                                  doctoral degree will be administered by the School of Pharmacy. For more information see our website,
                                  regulatory.usc.edu, or discuss the program with our program manager, at 323-442-3102, mgsci@usc.edu.

                                  Related Article on USC's DRSc Program:
                                  First Regylatorx Science Doctorate at USC by Kukla Vera (April 2008)
      IS DISTANCE RIGHT
      FORYOU?'X                   Why a Doctorate in Regulatory Science?
                                  Foods, drugs and medical devices have been regulated for more than a century. In the last decade, however, we have
                                  seen dramatic change in the level of preparation needed for effective management in this sector. Societal concerns
                                  over safety, globalization and technological innovation have increased the amount and detail of administrative law in the
                                  US and other areas of the world . At the same lime, the increased sophistication of medical products has driven out the

           r ~~-1,\
           •
               -~  I • 4.
                                  generalist; now regulatory leadership depends on a constellation of skill sets in science, law and management.
                                  Individuals who will lead the regulatory teams of the future must possess critical thinking skills and research acumen to
                                  be able to evaluate their own product and position it in a crowded marketplace. At the same lime, they must possess a
                                  strong knowledge of policy and law, and must be able to work with large and diverse teams of individuals with different
                                  specializations and work cultures. In a recent market survey in which industries were asked what were the skill sets
                        '1        that need to be developed in regulatory leaders, attention was drawn to three types of capabilities: outstanding people
          DlST·R NCE NE'l;,IIER   and project management skills, a good capability to understand and work within transnational organizations to make
          F£L T CLOSER.. F'IND    globally relevant decisions, and a broader knowledge of policy and business than is typically acquired at junior and
          OUT .RBOUT OUR
          PROGRAM                 midlevels of the regulatory career structure. A further pressing problem is the graying of the current high-level
                                  regulatory professional. Most of the current leadership in Regulatory Science comes from individuals on the verge of
                                  retirement. These individuals learned on-the-job slowly as the regulations developed and now are leaving the field; the
                                  next generation of leaders will not have the same luxury.

                                  Up to the present, a number of MS programs in Regulatory Science have been developed, but these are designed to
                                  educate practitioners in early career stages. What is needed now is a more advanced program that generates leaders
                                  equipped with tools and knowledge appropriate to individuals in the upper echelons of the profession where they
                                  command many subordinates and take responsibility for decisions that steer policy or company strategies. Our interest
                                  in developing the first US professional doctoral degree in Regulatory Science responds to requests made to us both
                                  from industries who are interested in recruiting and further training regulatory talent and from the professional
                                  organizations in this sector who see a strong need for strategic and research training to support policy and business
                                  decision-making. Like other professional doctorate degrees in education and policy studies, our goal is to develop
                                  individuals who can serve as leaders. However, in this case, those leaders are needed as a part of the health care
                                  system, where they will oversee the development and commercialization of medical devices, pharmaceuticals and
                                  foods, and will lead companies and government agencies concerned with regulatory planning and policy. These are the
                                  individuals who will replace the previous generation of regulatory experts, but they must be broader than most current
                                  experts. The products that they will foster, and the culturally and economically diverse countries in which they must
                                  operate, present a paradigm shift of a kind that this industry has not seen before. If we are to assure that new
                                  technologically sophisticated products make it to the marketplace, we must find new ways of benchmarking best
                                  practices and shortening the critical path that now exceeds a decade for most innovative pharmaceuticals and devices.


https://web.archive.org/web/20101126025621 /http://regulatory.usc.edu/program_ drs.aspx                                                                         1/3
3/22/23, 4:18Case
             PM   1:19-md-02875-RMB-SAK                                Document      2325-3
                                                                        Welcome to USC             Filed 04/11/23
                                                                                       Master's of Regulatory Science                    Page 7 of 150
                                                                        PageID: 83127
                                 Our vision is coherent with that of the NIH and FDA whose Roadmap Initiative and Critical Path activities stem from
                                 strong concern about the ability to sustain growth in this sector using old methods.


                                 What is the admissions process?
                                 Students entering the DRS program must complete 64 units of specified coursework. Students will typically take a
                                 series of courses that are foundational for both the MS and DRS degree. Most students will enter after first registering
                                 in the MS Regulatory Science program . After taking a minimum of 15 units in Regulatory Science, students with good
                                 academic standing and strong leadership skills will be allowed to apply to the doctoral program. Students from the MS
                                 (Regulatory Science) program can use the credits earned in the MS program toward their subsequent requirements in
                                 the doctoral program. Also eligible for the doctoral program are students who have already taken graduate studies
                                 elsewhere either in Regulatory Science or complementary program. Students entering as advanced placement students
                                 can apply relevant units from their previous MS studies toward the doctoral program according to the transfer of credits
                                 rules of USC. Students who do not come from an MS program in Regulatory Science must be prepared to take
                                 supplementary courses in order to ensure that their foundational regulatory background is adequate. This will be
                                 ascertained on an individual basis according to evaluations by the selection committee and recommendations of the
                                 advisory committee for that student. Most students will take the courses that are listed in the sample student program
                                 below, but if students have strong previous experience in some area of study, other appropriate graduate courses may
                                 be substituted with the permission of the program director.


                                 What must I do to graduate?
                                 Students will take a written examination after they complete the foundational courses .. The doctoral degree will typically
                                 be completed within 5 years of entry from the beginning of the program . Students will be monitored throughout the
                                 program on a term by term basis to ensure that they maintain an appropriately high GPA of 3.0 or above; failure to
                                 maintain this GPA for two consecutive terms will normally result in dismissal from the program. By the end of the
                                 program, we anticipate that the students will not only have a mature and detailed understanding of the regulations
                                 underlying global regulatory affairs, but a strong understanding of managerial tools, policy setting mechanisms and
                                 strategic decision making in the medical products and foods sectors. In addition, they should understand the basic
                                 tenets of research and analysis as evidenced by their thesis submission , which will be typically focused on policy, best-
                                 practices or organizational management. Graduation depends upon the successful completion of coursework with a
                                 minimum GPA of 3.0, and the successful defense of a dissertation.


                                 How will the program be structured?
                                 The program is organized as a series of modules with different foci. Students must take a minimum number of credits
                                 in each focus, and then can add additional elective courses from a broader portfolio of appropriate offerings taught in
                                 the School of Pharmacy and other Schools in the University. We encourage students to take at least a few courses in
                                 other Schools so that they develop a broader perspective and interdisciplinary appreciation, but aim to offer a sufficient
                                 richness of courses to meet the needs of our doctoral students within our School, should timetabling issues preclude
                                 the option of courses outside of the School of Pharmacy that might be given only during the normal working week.


                                      • Foundational courses in Regulatory Science (minimum 15 units): These form the base and would typically
                                        be composed of core courses to the MS program or equivalent courses from graduate programs elsewhere.



                                      • Product Lifecycle Strategy (minimum 8 units): A number of courses in this grouping are offered by the School
                                        of Pharmacy, either through Regulatory Science or through the Titus Family Department of Clinical Pharmacy
                                        and Pharmaceutical Economics and Policy. Students are also encouraged to take courses outside of the
                                        Pharmacy School when more specialized courses fit their personal research or professional plans.



                                      • Project and Personnel Management (minimum 8 units): Relevant courses are available through the
                                        Regulatory Science program. Alternative options are available from other University of Southern California
                                        Schools including the Marshall School of Business and School of Policy, Planning and Development.



                                      • Global Regulatory Strategy and Policy (minimum 8 units): Globally-oriented courses. Two of these courses
                                        take students abroad, so that participants can meet global regulatory leaders and study global health-care
                                        systems in a challenging and immersive cultural experience.




                                      • Research and dissertation preparation and completion (10+ units): All students will complete a
                                        professional dissertation that starts with at least one course in research design. We currently offer two such
                                        courses, one in basic/social sciences methodology and the other in clinical study methodology. Students must
                                        take at least one of these courses in preparation for their dissertation research. Research will be concerned
                                        with specific aspects of regulatory science, such as policy, administration, best practices or ethics. The
                                        students will work in subgroups of 3-4 as they develop their research projects, and will meet regularly in this
                                        group with their advisory team to discuss progress and challenges. Each student will be mentored by two
                                        identified advisors, one from university graduate faculty and the other an industry or government
                                        supervisor/mentor who normally is appointed as an adjunct in the School. Each student must produce and
                                        defend an independent dissertation as a requirement of graduation.



                                 Program Requirements
                                 1. Baccalaureate or graduate degree in an appropriate discipline. Applicants must provide transcripts of
                                 colleges/universities attended. Applicants with foreign transcripts must submit an official language transcript as well as a
                                 certified translation.

                                 2. Proficiency with the English language and excellent communication skills.

                                 3. Three letters of reference highlighting leadership skills in industry.

                                 4. One page letter statement of purpose- (ie. "Why do you want to take the degree in Regulatory Science?", "What
                                 attributes do you have that distinguish you as a good candidate for our program?")




https://web.archive.org/web/20101126025621 /http://regulatory.usc.edu/program_ drs.aspx                                                                         2/3
3/22/23, 4:18Case
             PM   1:19-md-02875-RMB-SAK                         Document      2325-3
                                                                 Welcome to USC             Filed 04/11/23
                                                                                Master's of Regulatory Science     Page 8 of 150
                                                                 PageID: 83128
      MASTER"S OF SCIENCE : REGULATORY SCIENCE                                                           CONTACT   I TOP OF PAGE




https://web.archive.org/web/20101126025621 /http://regulatory.usc.edu/program_ drs.aspx                                            3/3
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 9 of 150
                              PageID: 83129




                         Exhibit 3
             Case
3/24/23, 11 :52 AM 1:19-md-02875-RMB-SAK       Document
                                      KGI I Master of Bioscience2325-3
                                                                I Career MajorsFiled    04/11/23
                                                                                I Clinical and RegulatoryPage
                                                                                                         Affairs 10 of 150
                                                PageID: 83130
The Wayback Machine - https://web.archive.org/web/20150322212732/http ://www.kgi.edu/academic-programs/mast...




                 KGI
 KECK GRAD,UATE INSTITUTE
  Clinical and Regulatory Affairs
  Program Director: Susan Bain, DRSc (htt12 ://www.kgi.edu//web/20150322212732/htt12://www.kgi.edu/faculty..:.
  and-research/12rofiles/susan-bain.html)_

  Every drug, diagnostic test and medical device sold in the United States must meet a rigorous set of criteria to
  ensure quality and performance requirements. These standards are imposed by federal law and overseen by the
  Food and Drug Administration . Similar agencies regulate new product approvals in other countries. Although the
  process can be lengthy and expensive, patients need ing medications and devices are relatively certain they are
  receiving safe, effective products of reliable quality. FDA monitoring continues even after these products have been
  approved for sale insuring that as more people use the product, issues such as appearance of rare side effects will
  be understood.

  Topics in the Curriculum
  Clinical Development: Phases 1-3 Studies
  Accelerated Drug Approvals, Accessibility Programs
  Biostatistics
  Small Molecule Formulation
  Clinical Trials Design
  Drug Delivery Systems
  Drug Master Files (DMF)
  Good Clinical Practices (GCP)
  Investigational New Drug Application (IND)
  Common Technical Document (CTD)
  Labeling, Packaging and Advertising
  New Drug Application (NDA)
  Post-approval Changes, Phase 4 Studies
  Action letters and Pre-Approval Inspections (PAI)
  Orphan Drug Development Program
  International Regulatory Affairs
  Standard Operating Procedures (SOPs)

  Course Offerings for the Clinical and Regulatory Affairs Major
  Eighteen units are required for the Clinical and Regulatory Affairs major.

  Required (12 .0)
  ALS 418 Bio12harmaceutical QualitY. Assurance and Control (htt12://www.kgi.edu/current-students/academic-
  affairs/course-catalog/courses/als-418.htm1)_(1 .5 units)
  ALS 419 Chemistcv., Manufacturing, and Controls Regulation of Pharmaceuticals (htt12://www.kgi.edu/current-
  students/academic-affairs/course-catalog/courses/als-419. html )_( 1. 5 units)
  ALS 433 Design of Clinical Trials (htt12://www.kgi.edu/current-students/academic-affairs/course-
  catalog/courses/als-433.html) (1.5 units)
  ALS 434 Clinical Biostatistics (htt12 ://www.kgi.edu/current-students/academic-affairs/course-catalog/courses/als-
  434.htm1)_(3 .0 units)
  ALS 435 Medical Device Regulatorv. Affairs (htt12 ://www.kgi.edu/current-students/academic-affairs/course-
  catalog/courses/als-435.html)_(1.5 units)
  ALS 439 Drug and Biologic Regulations (htt12://www.kgi.edu/current-students/academic-affairs/course-
  catalog/courses/a1s-439.html )_( 1.5 units)
  ALS 464 Euro12ean Regulatocv. Affairs (htt12://www.kgi.edu/current-students/academic-affairs/course-
  catalog/courses/a1s-464.html )_( 1.5 units)


https://web.archive.org/web/20150322212732/http://www.kgi.edu/academic-programs/master-of-bioscience-(mbs )/career-majors/clinical-and-regulator...   1/2
             Case
3/24/23, 11 :52 AM 1:19-md-02875-RMB-SAK       Document
                                      KGI I Master of Bioscience2325-3
                                                                I Career MajorsFiled    04/11/23
                                                                                I Clinical and RegulatoryPage
                                                                                                         Affairs 11 of 150

  Elective                                                PageID: 83131
  ALS 401 Biotechnolog_v.- based Therageutics (httg ://www.kgi.edu/current-students/academic-affairs/course-
  catalog/courses/als-401.html )_( 3.0 units)
  ALS 432 Writing an Orghan Drug_Agglication (http://www.kgi.edu/current-students/academic-affairs/course-
  catalog/courses/als-432.html)_(l.5 units)
  ALS 437 Clinical Pharmacology_L(httP.://www.kgi .edu/current-students/academic-affairs/course-
  catalog/courses/als-437.html)_(3 .0 units)
  ALS 438 Cli nica I Pha rmacology_.lL( httg: //www. kg i. edu/current-students/academic-affairs/course-
  catalog/ cou rses/als-438 . htm I)_( 3. 0 units)
  ALS 443 Sumi!.Y. Chain and Biotech Ogerations (http://www.kgi.edu/current-students/academic-affairs/course-
  catalog/courses/als-443 .html) (1.5 units)




https://web.archive.org/web/20150322212732/http://www.kgi.edu/academic-programs/master-of-bioscience-(mbs )/career-majors/clinical-and-regulator...   2/2
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 12 of 150
                              PageID: 83132




                         Exhibit 4
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 13 of 150
                              PageID: 83133
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 14 of 150
                              PageID: 83134




                         Exhibit 5
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 15 of 150
                              PageID: 83135
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 16 of 150
                              PageID: 83136




                         Exhibit 6
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 17 of 150
                              PageID: 83137
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 18 of 150
                              PageID: 83138




                         Exhibit 7
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 19 of 150
                              PageID: 83139
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 20 of 150
                              PageID: 83140
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 21 of 150
                              PageID: 83141
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 22 of 150
                              PageID: 83142




                         Exhibit 8
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 23 of 150
                              PageID: 83143
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 24 of 150
                              PageID: 83144
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 25 of 150
                              PageID: 83145




                         Exhibit 9
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 26 of 150
                              PageID: 83146
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 27 of 150
                              PageID: 83147
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 28 of 150
                              PageID: 83148
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 29 of 150
                              PageID: 83149
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 30 of 150
                              PageID: 83150
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 31 of 150
                              PageID: 83151




                        Exhibit 10
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 32 of 150
                              PageID: 83152
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 33 of 150
                              PageID: 83153
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 34 of 150
                              PageID: 83154
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 35 of 150
                              PageID: 83155
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 36 of 150
                              PageID: 83156




                        Exhibit 11
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 37 of 150
                              PageID: 83157
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 38 of 150
                              PageID: 83158
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 39 of 150
                              PageID: 83159
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 40 of 150
                              PageID: 83160
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 41 of 150
                              PageID: 83161




                        Exhibit 12
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 42 of 150
                              PageID: 83162
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 43 of 150
                              PageID: 83163
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 44 of 150
                              PageID: 83164
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 45 of 150
                              PageID: 83165
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 46 of 150
                              PageID: 83166




                        Exhibit 13
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 47 of 150
                              PageID: 83167
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 48 of 150
                              PageID: 83168
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 49 of 150
                              PageID: 83169
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 50 of 150
                              PageID: 83170
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 51 of 150
                              PageID: 83171
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 52 of 150
                              PageID: 83172
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 53 of 150
                              PageID: 83173
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 54 of 150
                              PageID: 83174
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 55 of 150
                              PageID: 83175




                        Exhibit 14
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 56 of 150
                              PageID: 83176
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 57 of 150
                              PageID: 83177
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 58 of 150
                              PageID: 83178
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 59 of 150
                              PageID: 83179
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 60 of 150
                              PageID: 83180
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 61 of 150
                              PageID: 83181
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 62 of 150
                              PageID: 83182
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 63 of 150
                              PageID: 83183
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 64 of 150
                              PageID: 83184




                        Exhibit 15
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 65 of 150
                              PageID: 83185
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 66 of 150
                              PageID: 83186




                        Exhibit 16
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 67 of 150
                              PageID: 83187
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 68 of 150
                              PageID: 83188
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 69 of 150
                              PageID: 83189
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 70 of 150
                              PageID: 83190
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 71 of 150
                              PageID: 83191
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 72 of 150
                              PageID: 83192
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 73 of 150
                              PageID: 83193




                        Exhibit 17
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 74 of 150
                              PageID: 83194
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 75 of 150
                              PageID: 83195
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 76 of 150
                              PageID: 83196
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 77 of 150
                              PageID: 83197




                        Exhibit 19
Case 1:19-md-02875-RMB-SAK             Document 2325-3        Filed 04/11/23      Page 78 of 150
                                        PageID: 83198




 Guidance for Industry
     Genotoxic and Carcinogenic
  Impurities in Drug Substances and
 Products: Recommended Approaches


                                 DRAFT GUIDANCE
           This guidance document is being distributed for comment purposes only.

Comments and suggestions regarding this draft document should be submitted within 60 days of
publication in the Federal Register of the notice announcing the availability of the draft
guidance. Submit comments to the Division of Dockets Management (HFA-305), Food and
Drug Administration, 5630 Fishers Lane, rm. 1061, Rockville, MD 20852. All comments
should be identified with the docket number listed in the notice of availability that publishes in
the Federal Register.

For questions regarding this draft document contact David Jacobson-Kram at 301-796-0175.




                                                                                            Peng Dong

                                                                                          ZHP 208
                                                                                               4/1/2021




                        U.S. Department of Health and Human Services
                                Food and Drug Administration
                       Center for Drug Evaluation and Research (CDER)

                                      December 2008
                                 Pharmacology and Toxicology



I:\7834dft.doc
12/03/08
Case 1:19-md-02875-RMB-SAK     Document 2325-3            Filed 04/11/23   Page 79 of 150
                                PageID: 83199




Guidance for Industry
     Genotoxic and Carcinogenic
  Impurities in Drug Substances and
 Products: Recommended Approaches

                         Additional copies are available from:

                                Office of Communications
                              Division of Drug Information
                       Center for Drug Evaluation and Research
                             Food and Drug Administration
                     10903 New Hampshire Ave., Bldg. 51, rm. 2201
                             Silver Spring, MD 20993-0002
                              E-mail: druginfo@fda.hhs.gov
                                   Fax: 301-847-8714
                                   (Tel) 301-796-3400
                      http://www.fda.gov/cder/guidance/index.htm




                 U.S. Department of Health and Human Services
                         Food and Drug Administration
                Center for Drug Evaluation and Research (CDER)

                              December 2008
                         Pharmacology and Toxicology
Case 1:19-md-02875-RMB-SAK                            Document 2325-3                 Filed 04/11/23             Page 80 of 150
                                                       PageID: 83200



                                                 TABLE OF CONTENTS

I.         INTRODUCTION............................................................................................................. 1
II.        BACKGROUND ............................................................................................................... 2
     A.    ICH Guidances for Industry Relating to Drug Impurities and Residual Solvents .................. 3
     B.    EMEA Proposed Guideline on Limits of Genotoxic Impurities ................................................ 4
III.       RECOMMENDED APPROACHES FOR INITIAL ASSESSMENT OF
           GENOTOXIC POTENTIAL OF IMPURITIES ........................................................... 6
IV.        RECOMMENDED APPROACHES FOR HANDLING GENOTOXIC AND
           CARCINOGENIC IMPURITIES ................................................................................... 7
     A.    Prevention of Genotoxic and Carcinogenic Impurity Formation.............................................. 7
     B.    Reduction of Genotoxic and Carcinogenic Impurity Levels ...................................................... 7
       1. Acceptable Levels to Support Marketing Applications .................................................................... 7
       2. Acceptable Levels during Clinical Development ........................................................................... 10
     C. Additional Characterization of Genotoxic and Carcinogenic Risk ......................................... 11
     D.    Considerations for Flexibility in Approach ............................................................................... 12
APPENDIX A: DECISION TREE FLOW DIAGRAM......................................................... 13
     Case 1:19-md-02875-RMB-SAK              Document 2325-3 Filed 04/11/23                      Page 81 of 150
                                               PageID: 83201
                                    Contains Nonbinding Recommendations
                                             Draft — Not for Implementation

 1                            Guidance for Industry1
 2                Genotoxic and Carcinogenic Impurities in Drug
 3              Substances and Products: Recommended Approaches
 4
 5
 6
 7
 8   This draft guidance, when finalized, will represent the Food and Drug Administration’s (FDA’s) current
 9   thinking on this topic. It does not create or confer any rights for or on any person and does not operate to
10   bind FDA or the public. You can use an alternative approach if the approach satisfies the requirements of
11   the applicable statutes and regulations. If you want to discuss an alternative approach, contact the FDA
12   staff responsible for implementing this guidance. If you cannot identify the appropriate FDA staff, call
13   the appropriate number listed on the title page of this guidance.
14
15
16
17
18   I.      INTRODUCTION
19
20   This guidance is intended to inform pharmaceutical manufacturers of the Food and Drug
21   Administration’s (FDA’s) current thinking regarding genotoxic and carcinogenic impurities in
22   drug substances and drug products, including biologic products that are regulated by the Center
23   for Drug Evaluation and Research (CDER). This guidance provides recommendations on how to
24   evaluate the safety of these impurities during clinical development (investigational new drug
25   applications (INDs)) and for marketing applications (new drug applications (NDAs), biologics
26   license applications (BLAs), and abbreviated new drug applications (ANDAs)). This guidance
27   provides recommended exposure thresholds on the clinical exposure to genotoxic or
28   carcinogenic impurities. Also provided are additional testing and exposure threshold
29   recommendations for situations where there are known or theoretical safety concerns based on
30   available data, structural alerts, and/or assessment of the synthetic pathway.
31
32   This guidance is intended as an adjunct to the ICH guidances for industry Q3A(R2) Impurities in
33   New Drug Substances, Q3B(R2) Impurities in New Drug Products, and Q3C(R3) Impurities:
34   Residual Solvents that deal with the topic of impurities in a more general fashion. 2 This
35   guidance provides specific recommendations regarding the safety qualification of impurities with
36   known or suspected genotoxic or carcinogenic potential while the ICH guidances provide only
37   general direction. This guidance addresses synthetic impurities and degradants in drug
38   substances, but does not otherwise address the genotoxicity or carcinogenicity of actual drug
39   substances or intended drug product ingredients. This guidance also applies to known starting
40   materials or anticipated reaction products.

     1
      This guidance has been prepared by the Office of New Drugs in the Center for Drug Evaluation and Research
     (CDER) at the Food and Drug Administration.
     2
      See http://www.fda.gov/cder/guidance/index.htm. The FDA has incorporated revision 3 (R3) of ICH Q3C into the
     guidance for industry Q3C — Tables and List, which is posted on the CDER guidance Web site.


                                                            1
     Case 1:19-md-02875-RMB-SAK            Document 2325-3 Filed 04/11/23              Page 82 of 150
                                             PageID: 83202
                                  Contains Nonbinding Recommendations
                                         Draft — Not for Implementation
41
42   This guidance describes a variety of ways to characterize and reduce the potential lifetime cancer
43   risk associated with patient exposure to genotoxic and carcinogenic impurities both during
44   clinical development and after approval. These approaches include:
45
46         •   Changing the synthetic and/or purification routes to minimize the formation and/or
47             maximize the removal of the relevant impurity.
48
49         •   Allowing a maximum daily exposure target of 1.5 μg per day for the relevant impurity as
50             a general target for marketed products, though higher levels may be acceptable during
51             clinical development. Certain impurities with structural alerts suggesting particularly
52             high genotoxic and carcinogenic potential would not be appropriate for this general
53             threshold approach and would need to be evaluated on a case-by-case basis.
54
55         •   Further characterizing the genotoxic and carcinogenic risk via mechanism of action or
56             weight-of-evidence approaches, or through additional studies to better support
57             appropriate impurity specifications.
58
59   This guidance also applies to drug products approved before the issuance of this guidance, but
60   only in the presence of a specific safety signal that suggests the potential for an increased
61   carcinogenic risk associated with the presence of an impurity or degradant, or with regard to a
62   supplemental application for a previously approved drug product that proposes a significant
63   change in the drug product’s approved labeling that suggests the potential for an increased
64   carcinogenic risk associated with the presence of an impurity or degradant (e.g., new indication,
65   new dosage regimen, longer duration of use). Applicants also should take these
66   recommendations into consideration when preparing supplemental manufacturing submissions to
67   NDAs, BLAs, and ANDAs, such as submissions proposing new formulations or new synthetic
68   routes. Although this guidance applies to impurities present in biologic products regulated by
69   CDER, it is noted that, in most cases, the genotoxicity assays conducted for small molecule
70   pharmaceuticals are not applicable to biopharmaceuticals. Likewise, the standard assessment of
71   the genotoxic potential of impurities in biopharmaceuticals may not be appropriate in many cases
72   since they may include residual host cell proteins and nucleic material, fermentation components,
73   and bacterial and viral components and do not include organic chemicals typically found in small
74   molecule manufacturing.
75
76   FDA’s guidance documents, including this guidance, do not establish legally enforceable
77   responsibilities. Instead, guidances describe the Agency’s current thinking on a topic and should
78   be viewed only as recommendations, unless specific regulatory or statutory requirements are
79   cited. The use of the word should in Agency guidances means that something is suggested or
80   recommended, but not required.
81
82
83   II.       BACKGROUND
84
85   Compounds that have been demonstrated to induce genetic mutations, chromosomal breaks,
86   and/or chromosomal rearrangements are considered genotoxic and have the potential to cause


                                                       2
      Case 1:19-md-02875-RMB-SAK                 Document 2325-3 Filed 04/11/23                     Page 83 of 150
                                                   PageID: 83203
                                        Contains Nonbinding Recommendations
                                                Draft — Not for Implementation
 87   cancer in humans. Exposures to even low levels of these impurities may be of significant
 88   concern. Therefore, the identification limits provided in ICH Q3A(R2) and ICH Q3B(R2) may
 89   not be acceptable for genotoxic or carcinogenic impurities. For instance, under some scenarios
 90   the limits in these ICH guidances would allow a genotoxic or carcinogenic impurity to be present
 91   in a drug product at a level resulting in exposures up to 3,000 µg per day without needing
 92   identification. Although genotoxic and carcinogenic properties can be acceptable for some
 93   active pharmaceutical ingredients (APIs) depending on clinical circumstances (e.g., cancer
 94   chemotherapies), impurities in drug substances and drug products generally do not have
 95   beneficial effects and may impose a risk without associated benefit. Therefore, manufacturers
 96   should strive to achieve the lowest levels of genotoxic or carcinogenic impurities that are
 97   technically feasible and/or levels that convey no significant cancer risk.
 98
 99   Currently available guidances that address issues related to impurities and residual solvents
100   include ICH Q3A(R2), ICH Q3B(R2), and ICH Q3C(R3). In addition, the European Medicines
101   Agency’s (EMEA) Committee for Medicinal Products for Human Use (CHMP) published a
102   guideline regarding limits of genotoxic impurities. 3 These documents are discussed below to
103   provide a background to this guidance, but the inclusion of the EMEA guideline in this
104   background discussion should not be interpreted as an FDA endorsement of that document.
105
106              A.      ICH Guidances for Industry Relating to Drug Impurities and Residual
107                      Solvents
108
109   ICH Q3A(R2) and ICH Q3B(R2) address the issue of impurities in drug substances and drug
110   products, respectively. ICH Q3A(R2) addresses the identification and qualification of impurities
111   in drug substances approved after the issuance of the guidance, and ICH Q3B(R2) addresses only
112   those impurities in drug products approved after the issuance of the guidance that are classified
113   as degradation products of the drug substance or reaction products of the drug substance with an
114   excipient and/or immediate container closure system. These guidances define an impurity as any
115   component of the drug substance or drug product other than the chemical entity that makes up
116   the drug substance or an excipient in the drug product. Depending on the quantity of drug
117   substance or drug product to which a patient is exposed, these guidances recommend thresholds
118   for the identification, reporting, and qualification of impurities. Qualification, as defined by the
119   two guidances, is the process of acquiring and evaluating data that establishes the biological
120   safety of an individual impurity (or degradation product) or a given impurity (or degradation)
121   profile at the level(s) specified. 4 Higher or lower thresholds for qualification can be considered
122   appropriate based on scientific rationale and level of concern. 5
123
124   These guidances recommend when, after consideration of factors such as the patient population
125   and duration of use, qualification studies of an impurity are appropriate. Part of the battery of
126   tests used to qualify an impurity could include assays to determine whether the impurity is


      3
          Guideline on the Limits of Genotoxic Impurities (EMEA guideline), June 2006 (http://www.emea.europa.eu).
      4
          See the Glossary sections in ICH Q3A(R2) and ICH Q3B(R2).
      5
          See ICH Q3A(R2), section VII, and ICH Q3B(R2), section VI.


                                                               3
      Case 1:19-md-02875-RMB-SAK                   Document 2325-3 Filed 04/11/23                 Page 84 of 150
                                                     PageID: 83204
                                          Contains Nonbinding Recommendations
                                               Draft — Not for Implementation
                       6
127   genotoxic. These guidances also recommend that, when considered appropriate, assays to
128   assess genotoxic potential include the “minimum screen” of in vitro assays: a gene mutation
129   assay and a chromosomal aberration assay. 7 ICH Q3A(R2) indicates that “such studies can be
130   conducted on the new drug substance containing the impurities to be controlled, although studies
131   using isolated impurities can sometimes be appropriate.” 8 A similar recommendation is included
132   in ICH Q3B(R2).
133
134   It should be noted, however, that allowing genotoxicity assessment of the impurity as it is
135   present with the drug substance, rather than in isolation, renders the genotoxicity assessments
136   much less sensitive. For example, the potent mutagens that are typically used as positive
137   controls in the bacterial mutation assay, such as 9-aminoanthracene and methyl
138   methanesulfonate, when present with a noncytotoxic drug substance at the minimal level for
139   qualification, would not be detected by these genotoxicity assays because the maximum
140   concentration of the impurity at the limit concentration of the drug substance would not be
141   sufficient to produce a genotoxic response in the assays. If the drug substance is cytotoxic, this
142   approach of assessing the impurity as it is present with the drug substance would be even more
143   insensitive, since the drug’s toxicity would further limit the level at which the impurity could be
144   tested.
145
146   Although the ICH guidances provide some recommendations on the types of tests that should be
147   conducted, the guidances do not provide specific recommendations on how to proceed if one or
148   both of the genetic toxicology tests are positive; they simply state that additional testing, removal
149   of the impurity, or lowering the level of the impurity should be considered.
150
151   ICH Q3C(R3) recommends acceptable concentration limits or permissible daily exposures for
152   various classes of solvents, which are one type of impurity. The guidance does not, however,
153   include a recommendation on limiting exposure based upon concerns for genotoxic potential.
154   The guidance recommends only that mathematical models be used for setting exposure limits in
155   cases where reliable carcinogenicity data are available.
156
157   The ICH guidances on impurities and residual solvents do not apply to drug substances or drug
158   products used during the clinical research stages of development.
159
160               B.       EMEA Proposed Guideline on Limits of Genotoxic Impurities
161
162   In June 2006, the EMEA’s CHMP published a guideline on the limits of genotoxic impurities in
163   support of a marketing application. 9 A subsequent CHMP safety working party published a



      6
          See ICH Q3A(R2), section VII and Attachment 3, and ICH Q3B(R2), section VI and Attachment 3.
      7
          Ibid.
      8
          See ICH Q3A(R2), section VII.
      9
          EMEA guideline (http://www.emea.europa.eu)



                                                              4
      Case 1:19-md-02875-RMB-SAK             Document 2325-3 Filed 04/11/23                     Page 85 of 150
                                               PageID: 83205
                                    Contains Nonbinding Recommendations
                                             Draft — Not for Implementation
164   question and answers document to provide clarification on the 2006 guideline. 10 This guideline
165   recommends dichotomizing genotoxic impurities into those for which there is “sufficient
166   (experimental) evidence for a threshold-related mechanism” and those “without sufficient
167   (experimental) evidence for a threshold-related mechanism.” The genotoxic impurities with
168   sufficient evidence for a threshold-related mechanism would be addressed using methods
169   outlined in ICH Q3C(R3) for Class 2 solvents. This approach calculates a “permitted daily
170   exposure,” which is derived using the “no observed effect level” or, alternatively, the “lowest
171   observed effect level” from the most relevant animal study and incorporating a variety of
172   uncertainty factors. Examples of genotoxic compounds that might fall into this category include
173   compounds that induce aneuploidy by interfering with the mitotic spindle, compounds that
174   interfere with the activity of topoisomerase, and/or compounds that inhibit DNA synthesis.
175
176   For genotoxic impurities without sufficient evidence for a threshold-related mechanism, the
177   guideline proposes a policy of controlling levels to “as low as reasonably practicable” (called the
178   ALARP principle). The ALARP approach specifies that every effort should be made to prevent
179   the formation of such impurities during drug substance synthesis and, if that is not possible,
180   technical effort should be made post-synthesis to reduce impurities (e.g., purification steps).
181   Compounds that fall into this category are those that interact with DNA either directly or
182   indirectly, such as alkylating agents, intercalating agents, or agents that can generate free
183   radicals. Since any exposure to these agents can convey some level of carcinogenic risk, and
184   since complete elimination of genotoxic impurities from drug substances is often unachievable,
185   the presence of a concerning impurity requires the implementation of a concept of an acceptable
186   risk level. Methods for the derivation of acceptable risk levels are discussed in ICH Q3C(R3),
187   Appendix 3, in reference to Class 1 carcinogenic solvents.
188
189   Although the approach described above is acceptable, in most instances mechanistic data
190   sufficient to allow for an assessment of whether there is a threshold mechanism are lacking.
191   Furthermore, it is relatively uncommon for there to be sufficient data to allow for a quantitative
192   risk assessment. The EMEA guideline recognizes these limitations and, therefore, proposes the
193   use of a “threshold of toxicological concern” (TTC) for genotoxic impurities. The TTC refers to
194   a threshold exposure level to compounds that does not pose a significant risk for carcinogenicity
195   or other toxic effects. The EMEA guideline recommends a TTC of 1.5 μg per day for all but a
196   highly potent subset of compounds. This threshold corresponds to an incremental 10-5 lifetime
197   risk of cancer, a risk level that the EMEA considers justified because of the benefits derived
198   from pharmaceuticals. The guideline indicates that a TTC value higher than 1.5 µg per day may
199   be acceptable based on a weight-of-evidence approach to the profile of genotoxicity results, in
200   situations where the anticipated human exposure will be short-term, for the treatment of life-
201   threatening conditions, when life expectancy is less than 5 years, or where the impurity is a
202   known substance and human exposure will be much greater from other sources. The derivation
203   of the TTC is discussed in more detail in section IV.B.1.
204
205   The approach taken in the EMEA guideline for setting an exposure limit for genotoxic or
206   carcinogenic impurities in drug products in support of a marketing application is reasonable.
207   However, issues regarding the presence of genotoxic or carcinogenic impurities often occur

      10
        Question & Answers on the CHMP Guideline on the Limits of Genotoxic Impurities, June 2008
      (http://www.emea.europa.eu)


                                                           5
      Case 1:19-md-02875-RMB-SAK           Document 2325-3 Filed 04/11/23                Page 86 of 150
                                             PageID: 83206
                                  Contains Nonbinding Recommendations
                                          Draft — Not for Implementation
208   during the clinical development stages. Therefore, this guidance provides recommendations for
209   acceptable exposure thresholds during clinical development as well as for marketing
210   applications.
211
212
213   III.   RECOMMENDED APPROACHES FOR INITIAL ASSESSMENT OF
214          GENOTOXIC POTENTIAL OF IMPURITIES
215
216   If adequate data characterizing genotoxic and carcinogenic potential are not already available,
217   impurities identified in drug substances or drug products at levels exceeding the stated
218   qualification thresholds in the relevant ICH guidances should be assessed for genotoxic potential
219   in an initial minimal screen. Assays conducted with the impurity in isolation are recommended.
220   However, studies with the drug substance containing, or spiked with, the impurity can be
221   considered in cases where it can be demonstrated that synthesizing sufficient amounts of the
222   impurity is infeasible.
223
224   As mentioned, the ICH guidances on impurities do not apply to drug substances or drug products
225   for use in clinical trials. However, in cases where the presence of an impurity with genotoxic or
226   carcinogenic potential is identified or where such an impurity may be expected based on the
227   synthetic pathway, steps should be taken during the clinical development stage to address safety
228   concerns associated with these impurities.
229
230   If an impurity that is present at levels below the ICH qualification thresholds is identified, the
231   impurity should be evaluated for genotoxicity and carcinogenicity based on structural activity
232   relationship (SAR) assessments (i.e., whether there is a structural alert). This evaluation can be
233   conducted via a review of the available literature or through a computational toxicology
234   assessment; commonly used software includes MDL-QSAR, MC4PC, and Derek for Windows.
235   The conduct of an in vitro mutation assay (i.e., bacterial reverse mutation assay) generally would
236   be an acceptable initial screen for impurities with an identified alert, since positive signals in
237   computational toxicology programs are often derived from the results of bacterial mutation
238   assays and mutagenic carcinogens are considered to operate through nonthreshold-related
239   mechanisms. An assessment in a mammalian cell assay may be needed for impurities with
240   specific structural groups, such as carbamates, that are not well characterized in bacterial assays,
241   or for compounds that are toxic to E. coli and Salmonella, such as antibiotics.
242
243   If the initial evaluation of the genotoxic potential of an impurity is negative, no further
244   genotoxicity studies are recommended and the impurity should be considered to be adequately
245   qualified regarding its genotoxic potential. It should be noted that in cases where it is necessary
246   from a feasibility standpoint to conduct the assays with the drug substance containing, or spiked
247   with, the impurity, the proposed acceptance criterion should be commensurate with the level of
248   impurity observed in clinical, stability, and/or production batches, taking into consideration the
249   manufacturing and analytical variability. This acceptance criterion should not exceed the level
250   present in the drug batch used in the genotoxicity assay and should be supported by the relevant
251   qualification thresholds discussed in the ICH guidances or supporting general toxicity
252   information.
253


                                                        6
      Case 1:19-md-02875-RMB-SAK              Document 2325-3 Filed 04/11/23                    Page 87 of 150
                                                PageID: 83207
                                     Contains Nonbinding Recommendations
                                             Draft — Not for Implementation
254   In some cases, the structure of an impurity leading to the structural alert is shared with the API.
255   The genotoxic potential of such an impurity can be evaluated through the standard testing of the
256   API if the chemical environment for the alerting structure of the compounds is deemed
257   comparable for the reactivity potential.
258
259
260   IV.     RECOMMENDED APPROACHES FOR HANDLING GENOTOXIC AND
261           CARCINOGENIC IMPURITIES
262
263   Positive results in one or more genotoxicity assays or other information indicating a carcinogenic
264   potential, such as positive data from a carcinogenicity study with the impurity, should be
265   addressed further. Recommended approaches for handling genotoxic or carcinogenic impurities
266   are described in this section and are summarized in Table 2 at the end of section IV.C. A
267   decision tree is also included in Appendix A.
268
269           A.      Prevention of Genotoxic and Carcinogenic Impurity Formation
270
271   Since drug-related impurities presumably provide limited, if any, therapeutic benefits and
272   because of their potential to cause cancer in humans, every feasible technical effort should be
273   made to prevent the formation of genotoxic or carcinogenic compounds during drug substance
274   synthesis or drug product manufacturing. However, we recognize that completely preventing the
275   formation of or removing an impurity of concern may not be possible in many cases.
276
277           B.      Reduction of Genotoxic and Carcinogenic Impurity Levels
278
279   In lieu of completely preventing the formation of a genotoxic or carcinogenic impurity, steps to
280   reduce the level of impurity present in the drug substance or drug product should be considered.
281   The following sections discuss acceptable thresholds to support safety during clinical
282   development and for a marketing application. Analytical methodologies should be used that can
283   adequately identify impurities of concern at levels associated with the relevant qualification
284   thresholds. This threshold approach should be applied only in the absence of adequate
285   qualification data (data that establish the biological safety of an impurity at the level specified)
286   for the given impurity.
287
288           1.      Acceptable Levels to Support Marketing Applications
289
290   In general, an exposure level of 1.5 µg per person per day for each impurity can be considered an
291   acceptable qualification threshold for supporting a marketing application. Any impurity found at
292   a level below this threshold generally should not need further safety qualification for
293   genotoxicity and carcinogenicity concerns. The threshold is an estimate of daily exposure
294   expected to result in an upper bound lifetime risk of cancer of less than 10-6 (one in a million), a
295   risk level that is thought to pose negligible safety concerns. The threshold was based on an
296   analysis of the carcinogenic potencies of 477 chemicals and was derived from the probability
297   distribution of carcinogenic potencies of those compounds. 11 Subsequent analyses of an

      11
        Fiori, JM and RD Meyerhoff, 2002, Extending the Threshold of Regulation Concept: De Minimis Limits for
      Carcinogens and Mutagens, Reg Toxicol Pharmacol, 35, 209-216.


                                                            7
      Case 1:19-md-02875-RMB-SAK                 Document 2325-3 Filed 04/11/23                     Page 88 of 150
                                                   PageID: 83208
                                        Contains Nonbinding Recommendations
                                                Draft — Not for Implementation
298   expanded carcinogenic potency database of more than 700 carcinogens further confirmed the
299   threshold. 12 An additional analysis of subsets of highly potent carcinogens suggested that a
300   threshold of 0.15 µg per day, corresponding to a 10-6 lifetime risk of cancer, may be more
301   appropriate for chemicals with structural alerts for potential genotoxicity.13 However, there are
302   some compounds containing certain structural groups (aflatoxin-like-, N-nitroso-, and azoxy-
303   structures) that have extremely high carcinogenic potency and are excluded from the threshold
304   approach.
305
306   Federal regulatory agencies in the United States, such as the Environmental Protection Agency
307   (EPA) (in the context of ambient water quality criteria), typically use a 10-6 lifetime risk of
308   cancer to determine negligible risk from chemical exposures. 14 This approach supports an
309   acceptable threshold level for genotoxic or carcinogenic impurities of 0.15 µg per day.
310   However, other regulatory bodies have proposed a 10-5 level as an acceptable cancer risk. 15,16
311   Given that there is an overriding expected benefit of an approved drug product, a daily exposure
312   level of 1.5 μg per day, associated with a 10-5 lifetime risk of cancer, can be acceptable for most
313   genotoxic or carcinogenic impurities for a marketing application. This level of exposure is
314   expected to produce a negligible increase in carcinogenic risk based on the existing background
315   rate of human cancer and the conservative nature of cancer risk assessments. Additionally, this
316   threshold is considered to be low enough to ensure that the presence of a compound with an
317   uncharacterized genotoxic or carcinogenic potential would not significantly alter the risk-benefit
318   ratio of a drug product, even if the impurity is later shown to be a carcinogen.
319
320   The database from which the exposure threshold for genotoxic or carcinogenic impurities is
321   derived includes studies that primarily use oral administration, though a smaller number use the
322   inhalation route. Although the recommended threshold approach applies to all drug products
323   regardless of the intended route of administration, the qualification threshold of 1.5 µg per day
324   may not be appropriate for some routes (e.g., dermal, ophthalmic) because of the lack of a
325   relevant database from which an exposure threshold can be derived. Applicants should contact
326   specific drug review divisions regarding acceptable approaches in these cases.
327
328   As part of this threshold approach, applicants can conduct and provide to the FDA an SAR
329   assessment to identify structural similarities to known carcinogens. In cases where significant
330   structural similarities to a known carcinogen are identified, an estimate of the potential human

      12
           Ibid.
      13
        Kroes, R, AG Renwick, M Cheeseman, J Kleiner, I Mangelsdorf, A Piersma, B Schilter, J Schlatter, F Schothorst,
      JG Vos, and G Würtzen, 2004, Structure-Based Threshold of Toxicological Concern (TTC): Guidance for
      Application to Substances Present at Low Levels in the Diet, Food Chem Toxicol, 42, 65-83.
      14
        U.S. Environmental Protection Agency, Office of Water and Office of Science and Technology, 2000,
      Methodology for Deriving Ambient Water Quality Criteria for the Protection of Human Health, document number
      EPA-822-B-00-004, section 1.5.3 (http://www.epa.gov/waterscience/humanhealth/method/complete.pdf).
      15
           See EMEA guideline, section 5.2.3.
      16
        World Health Organization Guidelines for Drinking-Water Quality, 2nd ed., Vol. 2, 1996, Health Criteria and
      Other Supporting Information, Geneva, World Health Organization, section 12.4.2
      (http://www.who.int/water_sanitation_health/dwq/gdwq2v1/en/index1.html).


                                                              8
      Case 1:19-md-02875-RMB-SAK                  Document 2325-3 Filed 04/11/23          Page 89 of 150
                                                    PageID: 83209
                                         Contains Nonbinding Recommendations
                                                  Draft — Not for Implementation
331   cancer risk can be calculated based on the available information for the confirmed carcinogen.
332   This assessment can result in an increase in the acceptable exposure threshold for impurities that
333   are highly similar to carcinogens with relatively low potency, or a reduction in the limit for
334   impurities that are highly similar to relatively potent carcinogens.
335
336   The EPA guidance Supplemental Guidance for Assessing Susceptibility from Early-Life
337   Exposure to Carcinogens (EPA/630/R-03/003F) regarding cancer susceptibility in pediatric
338   populations indicates that children exposed to mutagenic carcinogens between age 0 (birth) and
339   16 have an increased cancer risk over a 70-year lifetime when compared to adults. 17 EPA
340   concludes that cancer risks generally are higher from early-life exposure than from similar
341   exposure durations later in life and recommends the application of adjustment factors to risk
342   calculations to account for this observation. EPA recommends an adjustment factor of 10 for
343   exposures before 2 years of age (i.e., spanning a 2-year time interval from the first day after birth
344   up until a child’s second birthday), which represents an approximation of the weighted geometric
345   mean tumor incidence ratio from juvenile or adult exposures in repeated dosing studies. In the
346   absence of data to calculate a specific dose-response adjustment factor for exposures between 2
347   and less than 16 years of age, EPA recommends an adjustment factor of 3, which represents an
348   intermediate level of adjustment and reflects a midpoint between the 10-fold adjustment for the
349   first two years of life and no adjustment (i.e., 1-fold) for adult exposures. However, the EPA
350   guidance acknowledges that the resultant increases in cancer risk are relatively small for
351   exposures that continue with fair uniformity over a lifetime. We recommend that this increase in
352   susceptibility to carcinogens in pediatric populations be considered when determining the
353   acceptable impurity level for a given drug product.
354
355   The threshold approach for genotoxic or carcinogenic impurities limits the likelihood that any
356   individual impurity in a given drug product will present more than a 10-5 excess cancer risk, but
357   the approach is not intended to ensure an aggregate excess cancer risk of less than 10-5. This
358   means the threshold approach to individual impurities is not intended to limit the overall excess
359   cancer risk to 10-5 from all impurities in a single drug product or from multiple drug products
360   concomitantly administered. As discussed above, this approach is consistent with approaches
361   taken by various regulatory bodies such as EPA, World Health Organization, and EMEA in
362   implementing threshold levels for carcinogenic risk when no benefit from the expected exposure
363   is perceived. However, in cases where a class or family of structurally similar impurities is
364   identified and is expected to have similar mechanisms resulting in their genotoxic or
365   carcinogenic potential, the total daily exposure to the related compounds should be evaluated
366   relative to the recommended threshold exposure.
367
368   We recognize that drug products are often indicated for short-term use. However, for most
369   drugs, these threshold considerations still apply since a drug may be used multiple times by the
370   same individual or may be used outside of its approved indication. A detailed rationale should
371   be provided to the FDA to support limits higher than generally considered appropriate for a
372   marketing application.
373



      17
           See http://cfpub.epa.gov/ncea/index.cfm.


                                                                9
      Case 1:19-md-02875-RMB-SAK             Document 2325-3 Filed 04/11/23                   Page 90 of 150
                                               PageID: 83210
                                    Contains Nonbinding Recommendations
                                            Draft — Not for Implementation
374           2.      Acceptable Levels during Clinical Development
375
376   The previous section describes the qualification threshold for genotoxic or carcinogenic
377   impurities in support of a marketing application. Issues related to genotoxic impurities also can
378   arise during a drug product’s clinical development period and can affect the assessment of safety
379   for conducting the program. Some flexibility in the previously described threshold level can be
380   applied during the investigational stages, since clinical trials vary widely in duration from short-
381   term (single dose to 4 weeks) to years and the qualification threshold for a marketing application
382   is based on lifetime risk estimates. On the other hand, it should be recognized that during early
383   clinical development, a benefit of the drug cannot be assumed. We recognize that the ability to
384   identify and control drug-related impurities during early developmental stages is limited because
385   of issues related to scale and maturity of production processes. Taking all these considerations
386   into account, higher daily levels of exposure to potentially genotoxic impurities may be
387   acceptable during the clinical development of the drug product compared to what is appropriate
388   for a marketed drug product.
389
390   Bos et al. reviewed the derived cancer risk from short-term, high-dose exposure to a genotoxic
391   carcinogen relative to the same cumulative dose distributed over a lifetime (virtually safe
392   dose). 18 Briefly, the authors state that only a limited number of animal studies have assessed the
393   comparative tumor incidence from short-term versus long-term exposures with similar
394   cumulative doses. From those studies that do exist, dose rate correction factors (factors by which
395   a specific dose of a chemical carcinogen at long-term, low-dose rates should be multiplied to
396   derive the expected tumor incidence from short-term, high-dose rates) ranged from unity to 8.3.
397   The authors conclude that the most pragmatic approach to calculate acceptable short-term
398   exposures to known genotoxic carcinogens is to linearly extrapolate the short-term exposure
399   from the acceptable lifetime exposure or virtually safe dose.
400
401   Acceptable daily intakes of genotoxic impurities during clinical development are presented in
402   Table 1, based on the linear extrapolation approach described by Bos et al. The impurity
403   threshold exposures for exposure durations of up to 12 months are based on a 10-6 cancer risk
404   level (0.15 µg per day for a lifetime exposure), since these trials often include healthy subjects
405   for whom there is no expected health benefit and the efficacy of the drug may still be uncertain.
406   The values are derived from a linear extrapolation from the qualification threshold using the
407   maximum duration of dosing for each time period specified in Table 1. In addition, these values
408   incorporate an uncertainty factor of 2 to allow for deviations from the linear extrapolation model.
409   For trials greater than 1-year duration, the threshold value is identical to the threshold for a
410   marketing application and is based on a 10-5 cancer risk level (1.5 µg per day derived from
411   lifetime exposures); subjects in these trials generally have the condition or disease being studied
412   and are more certain to derive benefit from the treatment than subjects in early trials. When
413   determining the acceptable impurity threshold exposure, the specifics of the patient population in
414   the clinical trial should be evaluated.
415



      18
        Bos, PMJ, B Baars, TM Marcel, and MTM van Raaij, 2004, Risk Assessment of Peak Exposure to Genotoxic
      Carcinogens: A Pragmatic Approach, Toxicol Letters, 151:43-50.


                                                          10
      Case 1:19-md-02875-RMB-SAK                 Document 2325-3 Filed 04/11/23                   Page 91 of 150
                                                   PageID: 83211
                                        Contains Nonbinding Recommendations
                                              Draft — Not for Implementation
416         Table 1: Acceptable Qualification Thresholds for Genotoxic and Carcinogenic
417                  Impurities
                                                    Duration of Clinical Trial Exposure
                                  < 14 days   14 days to   1 mo to       3 mos to     6 mos to      > 12 mos
                                              1 mo         3 mos         6 mos        12 mos
             Genotoxic and
             carcinogenic         120         60             20           10            5           1.5
             impurity threshold
             (µg/day)
418
419           C.       Additional Characterization of Genotoxic and Carcinogenic Risk
420
421   In cases where attempts to prevent the formation of an impurity of concern and/or to reduce the
422   amount of the impurity to an acceptable level as per Table 1 are not possible, further
423   characterization of the genotoxic and carcinogenic potential should be conducted. The guidance
424   for industry and review staff Recommended Approaches to Integration of Genetic Toxicology
425   Study Results describes the FDA’s current thinking regarding appropriate additional evaluations
426   that can be conducted. 19 Briefly, these concepts include the consideration of the mechanism of
427   action, weight of evidence, or the conduct of additional supportive studies. These concepts also
428   can be considered relevant for genotoxic impurities.
429
430   In addition to the above considerations, the conduct of an SAR evaluation of an impurity may
431   provide useful information. When a significant structural similarity to a known carcinogen is
432   identified, the drug substance and drug product acceptance criteria (typically in units of parts per
433   million or percent) can be set at a level that is commensurate with the risk assessment specific to
434   that of the known compound. As noted previously, the proposed factors should be considered in
435   light of manufacturing batch data.
436
437   Table 2 summarizes the recommended approaches for characterizing the presence and addressing
438   the safety of genotoxic and carcinogenic impurities depending on the clinical development stage.
439




      19
       We update guidances periodically. To make sure you have the most recent version of a guidance, check the
      CDER guidance Web page at http://www.fda.gov/cder/guidance/index.htm.


                                                            11
      Case 1:19-md-02875-RMB-SAK           Document 2325-3 Filed 04/11/23                       Page 92 of 150
                                             PageID: 83212
                                  Contains Nonbinding Recommendations
                                          Draft — Not for Implementation
440    Table 2: Recommended Approaches Based on Development Stage
         Clinical Development      Recommended Approach
         Stage
         IND                       •   Evaluate identified impurities for genotoxic and carcinogenic risk via
                                       SAR assessment
                                   •   Conduct assay for the presence of anticipated genotoxic and carcinogenic
                                       impurities
                                   •   If impurity with genotoxic and carcinogenic potential is identified:
                                       − Modify synthetic pathway to eliminate the impurity, if possible
                                       OR
                                       − Conduct genotoxicity assays to characterize the genotoxic potential
                                            if not already known
                                       AND/OR
                                       − Set specification to that associated with a potential daily impurity
                                            exposure supported by compound-specific risk assessment or
                                            relevant qualification threshold (see Table 1)
         Marketing application     •   Evaluate identified impurities for genotoxic and carcinogenic risk via
         (NDA, BLA, or ANDA)           SAR assessment
                                   •   If impurity with genotoxic and carcinogenic potential is identified:
                                       − Conduct genotoxicity assays to characterize the genotoxic potential
                                            if not already known
                                       AND/OR
                                       − Set specification to that associated with a potential daily impurity
                                            exposure supported by compound-specific risk assessment or 1.5 µg
                                            per day threshold
441
442            D.    Considerations for Flexibility in Approach
443
444   The previous sections are intended to be general recommendations to consider when developing
445   a drug product in which a potentially genotoxic or carcinogenic impurity is identified. We
446   recognize that these approaches may not necessarily apply to every development program, and
447   flexibility in the application of these recommendations may be appropriate. When applying the
448   recommendations, consideration should be given to the drug product’s clinical development
449   stage, the maximum duration of drug administration at that stage, the proposed indication (e.g.,
450   treatment of a life-threatening condition versus a less serious condition), the patient population
451   (e.g., adults versus children), and the structural similarity of an impurity to a compound of
452   known carcinogenic potency. In some of these cases, acceptance criteria higher than the
453   recommended thresholds can be supported in the presence of a potential pharmacological benefit
454   to patients. In rare cases, such as in the presence of highly potent carcinogens, decreases in the
455   threshold also may be warranted. The appropriateness of a flexible approach should be informed
456   by the feasibility of controlling impurity levels and the capabilities of the current process.
457




                                                        12
      Case 1:19-md-02875-RMB-SAK              Document 2325-3 Filed 04/11/23                          Page 93 of 150
                                                PageID: 83213
                                     Contains Nonbinding Recommendations
                                              Draft — Not for Implementation
458                          APPENDIX A: DECISION TREE FLOW DIAGRAM
459

                                               Identify impurity



                              Observed level exceeds relevant ICH qualification            No
                             threshold or is less than ICH qualification threshold                 No further
                                        but displays a structural alert?                            action


                                                            Yes
                              Yes
        Consider alternate               Able to prevent formation of impurity?
        synthetic pathway



                                                      No



              Reduce the level of impurity to that                   Conduct appropriate
               associated with a daily exposure ≤                    genotoxicity assays
              qualification threshold for genotoxic
              and carcinogenic impurity* (1.5 µg
                     per day or see Table 1)
                                                                                                       No
                                                             Impurity considered genotoxic
                                                              based on assay results/weight
                                                                      of evidence?

                                                                                     Yes
               Set specification based      Yes
                    on calculated                          Adequate evidence for threshold
                   permitted daily                                  mechanism?
                      exposure
                                                                                     No
                                                            Consider restricting or rejecting
                                                        proposed use based on risk-benefit ratio




460
           *Safety threshold approach for genotoxic and carcinogenic impurities is not applicable to compounds with
           adequate data to derive compound-specific risk assessment or for those with SARs to high potency carcinogens.
           In addition, the approach may not be appropriate for some routes of administration (e.g., dermal, ophthalmic)
           because of the lack of a relevant database from which a threshold limit can be derived.




                                                              13
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 94 of 150
                              PageID: 83214




                        Exhibit 22
  Case 1:19-md-02875-RMB-SAK             Document 2325-3          Filed 04/11/23     Page 95 of 150
                                          PageID: 83215
FOOD AND DRUG ADMINISTRATION
COMPLIANCE PROGRAM GUIDANCE MANUAL
                                                                           PROGRAM
                                                                                        I   7356.002F
                                                                                                         I
                             CHAPTER 56 – DRUG QUALITY ASSURANCE
SUBJECT:                                                                  IMPLEMENTATION DATE

                                                                          September 11, 2015
ACTIVE PHARMACEUTICAL INGREDIENT (API)
PROCESS INSPECTION
Revision Note: Program revised 09/11/2015 to update                       COMPLETION DATE

implementation date, completion date, organizational/procedural
changes and program contacts.

                                            DATA REPORTING
              PRODUCT CODES                                  PRODUCT/ASSIGNMENT CODES

Industry codes 54, 56 and 60-66 inclusive       Domestic / Foreign Inspections:
                                                   56002F (Full Inspection)
                                                   56002L (Abbreviated Inspection)
                                                Related PACs
                                                   56002 & H – Drug Process Inspections (DPI)
                                                   56002C & K – DPI / Radioactive Drugs
                                                   56002M – DPI/Therapeutic Biological Product
                                                   Inspections

  FIELD REPORTING REQUIREMENTS

  Establishment Inspection Reports (EIRs) are to be created and filed electronically using the API specific
  module in TurboEIR or replacement system that is accessible to both ORA and CDER.

  For inspections of routine commercial manufacturing classified as Official Action Indicated (OAI) due to
  deficiencies in Current Good Manufacturing Practice (CGMP) as they apply to APIs, submit advisory,
  administrative, or judicial action recommendations via MARCS-CMS in accordance with the Regulatory
  Procedures Manual (RPM).

  Districts should immediately report significant issues according to current FACTS, Panorama and CMS
  procedures. This includes promptly filing and changing OAI notifications.

  During an inspection, if you obtain information pertaining to inadequate adverse drug experience (ADE)
  reporting, unapproved drug issues, or post-approval reporting violations (application supplements, Field
  Alert Reports (FARs), etc.), report in accordance with directions provided in the applicable compliance
  programs and under separate captions in the EIR. Data system information about these inspectional
  activities should be reported under separate Program Assignment Codes (PACs). Expansion of coverage
  under these programs into a CGMP inspection should be reported under this compliance program.

  TRANSMITTAL# 2013–CPGM-CDER-002                                                             PAGE 1 OF 30
  FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                       Document 2325-3                         Filed 04/11/23      Page 96 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83216
COMPLIANCE PROGRAM GUIDANCE MANUAL                                       PROGRAM          7356.002F




This program provides guidance in evaluating compliance with CGMP and providing comprehensive
regulatory coverage of all aspects of production and distribution of active pharmaceuticals ingredients
(APIs) to assure that such products comply with Section
501(a)(2)(B) of the Federal Food, Drug, and Cosmetic Act (the Act). As soon as the District becomes
aware of any significant inspectional, analytical, or other information developed under this program that
may affect the agency’s new drug and abbreviated new drug approval decisions with respect to a firm, the
District should report the information immediately according to current FACTS and EES procedures. This
includes promptly filing and deleting OAI notifications.

Districts are to use this revised compliance program for CGMP inspections of API facilities.




TRANSMITTAL# 2013–CPGM-CDER-002                                                                PAGE 2 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                       Document 2325-3                                                          Filed 04/11/23                    Page 97 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83217
COMPLIANCE PROGRAM GUIDANCE MANUAL                                                                               PROGRAM                       7356.002F



                                                 TABLE OF CONTENTS

                                                       (Parts are hyperlinked)

PART I         BACKGROUND .......................................................................................4
               General .........................................................................................................................4
               Scope of APIs Covered by this Program ...............................................................5
PART II        IMPLEMENTATION ........................................................................................ 7
               Objective.......................................................................................................................7
               Program Management Instructions........................................................................7
               Inspection Planning................................................................................................ 9
                   Profile Classes................................................................................................. 9
               Types of Inspections .......................................................................................... 10
PART III       INSPECTIONAL............................................................................................11
               Inspection Approaches ...................................................................................... 12
                   Full Inspection Option.................................................................................. 12
                   Abbreviated Inspection Option ....................................................................13
                   Compliance Inspections ................................................................................13
               Selecting Systems for Coverage .........................................................................13
               Preparing the Inspection Strategy......................................................................14
               Special Inspection Reporting Instructions............................................................15
               Special Instructions for Foreign Drug Inspections..............................................16
PART IV        ANALYTICAL................................................................................................17
PART V         REGULATORY/ADMINISTRATIVE                                       STRATEGY.................................... 18
PART VI        REFERENCES, ATTACHMENTS AND PROGRAM CONTACTS........ 21
               References ................................................................................................................ 21
               Contacts..................................................................................................................... 21
PART VII       CENTER RESPONSIBILITIES .............................................................. 23
APPENDIX A Description of Each System and Areas of Coverage........................ 24

                                                                                                                                   [end Cover Page]




TRANSMITTAL# 2013–CPGM-CDER-002                                                                                                                     PAGE 3 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                       Document 2325-3                           Filed 04/11/23      Page 98 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83218
COMPLIANCE PROGRAM GUIDANCE MANUAL                                         PROGRAM           7356.002F


                                    PART I - BACKGROUND

GENERAL

APIs are subject to the adulteration provisions of Section 501(a)(2)(B) of the Act, which requires
all drugs to be manufactured in conformance with CGMP. No distinction is made between an
API and a finished pharmaceutical in the Act and the failure of either to comply with CGMP
constitutes a violation of the Act. FDA has not promulgated CGMP regulations specifically for
APIs or drug components (as we have for finished pharmaceuticals). Thus, the use of “CGMP”
in this document refers to the requirements of the Act rather than the requirements of 21 CFR
Parts 210 and 211 regulations for finished pharmaceuticals.

FDA has long recognized that the CGMP requirements in the good manufacturing practice
regulations for finished pharmaceuticals (21 CFR Parts 210 and 211) are valid and applicable in
concept to active pharmaceutical ingredient (API) manufacturing. These concepts include,
among others, building quality into the drug by using suitable equipment and employing
appropriately qualified and trained personnel, establishing adequate written procedures and
controls designed to assure manufacturing processes and controls are valid, establishing a system
of in-process material and final drug tests, and ensuring stability of drugs for their intended
period of use. In 2001, FDA adopted an internationally harmonized guidance to industry on API
CGMPs in conjunction with regulatory partners in the International Conference on
Harmonization of Technical Requirements for Registration of Pharmaceuticals for Human Use
(ICH). This guidance is ICH Q7, Good Manufacturing Practice Guidance for Active
Pharmaceutical Ingredients. ICH Q7 represents the Food and Drug Administration’s (FDA’s)
current thinking on CGMPs for API’s. Thus, API and related manufacturing and testing facilities
that follow this guidance generally will be considered to comply with the statutory CGMP
requirement. However, alternate approaches may be used if such approaches satisfy the
requirements of Section 501(a)(2)(B) of the Act as long as the approach ensure that the API
meets its purported or represented purity, identity, and quality characteristics.

The term “active pharmaceutical ingredient” (API) is used in this program consistent with the
meaning of this term as defined in ICH Q7. An active pharmaceutical ingredient is defined in
ICH Q7 as “any substance or mixture of substances intended to be used in the manufacture of a
drug product and that, when used in the production of a drug, becomes an active ingredient in the
drug product. Such substances are intended to furnish pharmacological activity or other direct
effect in the diagnosis, cure, mitigation, treatment or prevention of disease or to affect the
structure and function of the body.” Currently, other terms are also used by FDA and industry to
mean an API. “Drug substance” and “bulk pharmaceutical chemical” (BPC) are terms commonly
used to mean API and, for BPC, inactive ingredients. The use of these terms to describe active
ingredients may be considered equivalent to the term used here, API.

FDA expects API manufacturers to apply CGMPs to the API process beginning with the use of
starting materials, and to validate critical process steps that impact the quality and purity of the
final API. Controls over material quality are expected to increase as the process approaches the
final API. The level of control needed is highly dependent on the manufacturing process and
increases throughout the process as it proceeds from early intermediate steps to final isolation

TRANSMITTAL# 2013–CPGM-CDER-002                                                               PAGE 4 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                       Document 2325-3                           Filed 04/11/23       Page 99 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83219
COMPLIANCE PROGRAM GUIDANCE MANUAL                                          PROGRAM           7356.002F


and purification steps. The appropriate level of control depends on the risk or criticality
associated with each specific process step.

ICH Q7 contains general guidance to industry on the extent and application of CGMP for
manufacturing APIs under an appropriate system for managing quality. It is also intended to help
ensure that APIs meet the quality and purity characteristics that they purport or are represented
to possess. ICH Q7 is to be used as a guideline for inspecting API manufacturers and related
facilities. If an investigator believes that a particular practice conforming to this guidance is
believed to be deficient, the investigator or district should consult with CDER DMPQ before
making an observation that is in conflict with ICH Q7. A firm may also use alternate approaches
to those described in ICH Q7.

API manufacturers must register and APIs in commercial distribution must be listed under
section 510(g) of the Act unless exempted under 21 CFR 207.10. Foreign drug manufacturers are
also required to register and list all drugs imported or offered for import into the United States.
Refer to 21 CFR 207.40 for additional information on establishment registration and drug listing
requirements for foreign drug facilities.

The inspection guidance in this program is structured for the efficient use of resources planned
for routine surveillance coverage of API manufacturing facilities, recognizing that in-depth
coverage of all systems and all processes is not feasible for all firms on a biennial basis. It also
provides for follow-up compliance coverage as needed.

SCOPE OF APIs COVERED BY THIS PROGRAM

An API process is a related series of operations which result in the preparation of an active
pharmaceutical ingredient. Major operations or steps in an API process may include multi-step
chemical synthesis and fermentation, purification, crystallization, drying, milling, packing,
labeling, and testing.

Some drugs processed similarly to an API may in fact be bulk finished product and subject to the
requirements of 21 CFR Parts 210 and 211. If the drug material will not undergo further
processing or compounding after its synthesis/fermentation/extraction, but is merely repackaged
into market containers, it is a bulk finished product. However, investigators should use this
program as guidance when covering the synthesis/fermentation processes that result in such APIs
rather than the program for dosage forms (CP 7356.002).

This program does not cover all vaccines, whole cells, whole blood and plasma, blood and
plasma derivatives (plasma fractionation), and gene therapy APIs as these drugs are regulated
under the jurisdiction of the Center for Biologics Evaluation and Research.

The following APIs are to be inspected using CP7256.002M, Inspections of Licensed Biological
Therapeutic Drug Products:
      • biotechnology-derived APIs, including those expressed from mammalian or bacterial
        cell cultures
      • polypeptides
TRANSMITTAL# 2013–CPGM-CDER-002                                                                PAGE 5 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                       Filed 04/11/23     Page 100 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83220
COMPLIANCE PROGRAM GUIDANCE MANUAL                                    PROGRAM          7356.002F


Neither this compliance program nor ICH Q7 will provide guidance on the sterilization and
aseptic processing of sterile APIs (see Q7 Section 1.3). Investigators are to use the finished
product regulations (21 CFR 210 and 211) as guidance and follow CP 7356.002A, Sterile Drug
Process Inspections, when inspecting the sterile processing of APIs labeled as sterile.
Investigators are also to use FDA guidance on aseptic processing, Sterile Drug Products
Produced by Aseptic Processing — Current Good Manufacturing Practice, 2004, in evaluating
aseptic processing conditions for sterile APIs.

                                                                                       [end Part I]




TRANSMITTAL# 2013–CPGM-CDER-002                                                          PAGE 6 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                           Filed 04/11/23      Page 101 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83221
COMPLIANCE PROGRAM GUIDANCE MANUAL                                        PROGRAM           7356.002F


                                 PART II - IMPLEMENTATION


OBJECTIVE

The primary objective of this compliance program is to provide comprehensive CGMP
inspectional coverage of the domestic and foreign API industry in all profile classes (i.e., types
of API manufacturing processes) to determine whether a manufacturer is operating in a state of
control. An API manufacturer is considered to be operating in a state of control when it employs
conditions and practices that assure compliance with the intent of Section 501(a)(2)(B) of the
Act. A firm in a state of control produces APIs for which there is an adequate level of assurance
of quality, identity and purity.
A firm is not in a sufficient state of control if any one system, as defined in this program, is
found to be significantly non-compliant with CGMPs, such that the quality, identity and purity of
the API resulting from that system cannot be adequately assured. Documented CGMP
deficiencies provide the evidence for concluding that a system is not operating in a state of
control. See Part V, Regulatory/Administrative Strategy, for a discussion of compliance actions
based on inspection findings demonstrating that a system(s) is not in a state of control.
Profile classes generalize inspection coverage from a small number of specific APIs to all APIs in
that class. This program establishes a systems approach to further generalize inspection coverage
from a small number of profile classes to an overall evaluation of the firm. This allows for pre-
approval program inspections to focus on the specific issues related to a given application and
improves the review process by providing timely and efficient support for application decisions.
Inspection of API manufacturers should be conducted and reported using the system definitions
and organization in this compliance program. Focusing on systems, rather than just profile
classes, will increase efficiency in conducting inspections because the systems are often
applicable to multiple profile classes. An inspection under this program is profileable and will
result in a determination of acceptability/non-acceptability for all API profile classes. Inspection
coverage should be representative of all API profile classes manufactured by the firm. All other
profile classes should be covered under the main program CP 7356.002, or related program
circular, as appropriate. Other objectives include:
      • Obtain information on operations impacting on sterility, to identify areas for
           improvement and correction.
      • Evaluate current good manufacturing practices in the sterile drug industry.
      • Initiate appropriate action against manufacturers observed to be out of compliance.

PROGRAM MANAGEMENT INSTRUCTIONS

The Field will conduct API manufacturing inspections and maintain profiles or other monitoring
systems with the goal that each API firm will receive biennial inspectional coverage. CDER will
also identify firms for inspection coverage under this program to fulfill CDER and agency
annual performance goals and as part of an initiative to ensure risk-based prioritization of
inspection coverage.


TRANSMITTAL# 2013–CPGM-CDER-002                                                               PAGE 7 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                          Filed 04/11/23      Page 102 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83222
COMPLIANCE PROGRAM GUIDANCE MANUAL                                        PROGRAM           7356.002F


Unless specifically directed by CDER, the District Office is responsible for determining the
frequency and depth of coverage given to each API firm consistent with this compliance
program’s instructions. CGMP inspectional coverage under this program shall be sufficient to
assess the state of compliance for each firm.

An inspection under this program is defined as audit coverage of 2 or more systems (the
“systems” are defined below in this section and are consistent with the main program, 7356.002),
with mandatory coverage of the Quality System. Inspecting at least two systems (i.e., the Quality
System and one other system) will provide the basis for an overall CGMP decision.

Coverage of a system should be sufficiently detailed, with specific examples selected, so that the
system inspection outcome reflects the state of control in that system for every profile class. If a
particular representative system is adequate, it should be adequate for all profile classes
manufactured by the firm.

If an API selected for inspection coverage is associated with a unique processing or control
function in a system not chosen for coverage you may cover the unique function for that API. In
doing so, you need not give full coverage to that system. For example, if an API chosen for
coverage uses high purity water alone in its manufacture, you may inspect the water purification
system without having to give full inspection coverage of the Materials System.

In some circumstances, it may not be possible to generalize certain deficiencies in a system to all
API profile classes. If so, the unaffected profile classes may be considered acceptable if found
otherwise acceptable.

Selecting unique functions within a system will be at the discretion of the investigator. Any
given inspection need not cover every system.

Complete inspection of one system may necessitate further follow up of some aspects of another
system to fully document the findings. However, this coverage does not constitute nor require
complete coverage of the other system.

A general scheme of systems for auditing the manufacture of API consists of the following:
   1.      Quality System assures overall compliance with CGMPs and internal procedures and
           specifications.
   2.      Facilities and Equipment System includes activities which provide an appropriate
           physical environment and resources used in the production of APIs.
   3.      Materials System includes measures and activities to control starting materials,
           intermediates, and containers. It includes validation of computerized and inventory
           control processes, storage, and distribution controls.
   4.      Production System includes measures and activities to control the manufacture of
           APIs, including in-process sampling and testing, and process validation.
   5.      Packaging and Labeling System includes measures and activities that control the
           packaging and labeling of intermediates and APIs.

TRANSMITTAL# 2013–CPGM-CDER-002                                                              PAGE 8 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                             Filed 04/11/23       Page 103 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83223
COMPLIANCE PROGRAM GUIDANCE MANUAL                                           PROGRAM             7356.002F


   6.      Laboratory Control System includes measures and activities related to laboratory
           procedures, testing, analytical methods development and methods validation or
           verification, and the stability program.
Detailed inspection coverage guidance under these systems is given in Appendix A of this
program.

INSPECTION PLANNING
This program is intended to provide for a risk-based inspection strategy. Inspection depth should
therefore reflect appropriate risks associated with a particular firm’s operations, such as the
firm’s compliance history, the technology employed, the labeled and purported characteristics,
and the intended use in the finished product, if known, of the APIs.

When a system is inspected, the inspection of that system may be considered applicable to all
API products which use it. Investigators should select an adequate number and type of APIs to
accomplish coverage of the system. APIs selected for coverage should be representative of the
firm’s overall abilities in manufacturing within CGMPs. (A profile classification scheme is used
to categorize APIs by the nature of their processing, as described below.)

Profile class codes or APIs selected for coverage are to be representative of all APIs processed at
the firm being inspected. Profile class codes may also be grouped by similarity, such that
coverage of one profile class is sufficient to demonstrate CGMP conditions for another profile
class. For example, inspecting a CSS API could amount to surrogate coverage of CSN.
Similarly, inspecting a CBI could amount to surrogate coverage of other profile classes, such as
CFN, CFS, and perhaps CEX.

The public health significance of certain CGMP deviations may be lower when the API is
intended for a dosage form that has no dosage limitation, such as in products like calamine lotion
or some OTC medicated shampoos. Such APIs should be given inspection coverage of reduced
depth and intensity.

Profile Classes
The inspection findings will be used as the basis for updating all profile classes in the profile
screen of the FACTS EIR coversheet that is used to record profile/class determinations.
Normally, an inspection under this system approach will result in all profile classes being
updated. Effective with this program circular are a list of profile class codes that are used to
report the processes covered during API inspections. These are:
    PROFILE        FULL DESCRIPTION
    CLASS
   CBI            Biotechnology derived API (sterile and non-sterile)
   CEX            Plant/Animal Extraction API
   CFN            Non Sterile API by Fermentation
   CFS            Sterile API by Fermentation
   CRU            Non-sterile/intermediate/NEC inorganic/mineral (not plant/animal)
                                                                                      (table continued on next page)


TRANSMITTAL# 2013–CPGM-CDER-002                                                                   PAGE 9 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                             Filed 04/11/23   Page 104 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83224
COMPLIANCE PROGRAM GUIDANCE MANUAL                                         PROGRAM        7356.002F


    PROFILE      FULL DESCRIPTION
    CLASS
   CRX          Sterile starting/intermediate/NEC (not plant/animal)
   CSN          Non Sterile API by Chemical Synthesis
   CSS          Sterile API by Chemical Synthesis
   CTL          Control Testing Laboratory
   CTX          Testing Laboratory plus Manufacturer
   CXA          Purified API derived from plant/animal extraction

TYPES OF INSPECTIONS
There are two basic types of inspections: surveillance and compliance. Surveillance inspections
are conducted on a routine basis to satisfy FDA’s responsibilities to inspect drug manufacturing
facilities. Compliance inspections are conducted in response to violative surveillance inspections
and when a need arises to inspect a facility for-cause.

This program follows the approach in the main compliance program, 7356.002. There are two
alternate approaches to inspecting a facility to satisfy FDA inspection obligations; these are
termed “Full Inspection” and “Abbreviated Inspection.” These are described in Part III,
Inspectional, of this program.
                                                                                         [end Part II]




TRANSMITTAL# 2013–CPGM-CDER-002                                                            PAGE 10 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                          Filed 04/11/23      Page 105 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83225
COMPLIANCE PROGRAM GUIDANCE MANUAL                                        PROGRAM          7356.002F


                                   PART III - INSPECTIONAL

 Inspections of API manufacturers, whether foreign or domestic, should be conducted by
experienced investigators with education and/or training particularly in fermentation (see also
7356.002M for additional inspection guidance) and chemical synthesis manufacturing methods.
Use of chemists and/or microbiologists during API inspections is recommended, particularly for
evaluating laboratory operations (e.g., analytical methods evaluation, analytical data, lab
procedures and instrumentation), analytical review of methods used to establish impurity
profiles, fermentation manufacturing processes, and complex multi-step chemical synthesis
processes.

Investigators conducting API inspections must understand the basic differences between the
processes used for the production of APIs and those used for finished dosage forms. APIs are
usually produced by chemical synthesis or by cell culture and extraction. Thus, the production of
APIs typically involves significant changes of starting materials or intermediates by various
chemical, physical, and biological processing steps. The ultimate objective in API processing
generally is to achieve a pure compound of certain identity, whereas the ultimate objective of
finished dosage form manufacturing generally is to achieve the uniform distribution of an API
among many dosing units designed to deliver a precise amount of API to a specific area of the
body.

Since manufacturers of APIs are often referenced in many drug applications, each inspection
should cover representative APIs when covering the systems selected (e.g., if inspecting the
Production System for a site making an API by fermentation and another by synthesis, the
inspection should include physical inspection and audit a sampling of records for both types of
processing). This strategy, together with the classification of all profile classes upon completion
of the inspection, will maximize the use of agency resources and avoid repeated visits to the
same manufacturing site to cover different API profile classes referenced in subsequent
applications. Any inspection of an API manufacturer should be recorded as a CGMP qualifying
inspection.

Inspections should cover any specific APIs referenced in the assignment and any other
representative APIs not inspected in the last two years. For foreign API firms, investigators
should cover only APIs intended to be marketed or already marketed in the United States.

APIs selected for coverage should include those that are referenced in drug applications, are
therapeutically significant, are intended for use in parenteral drug products, are difficult to
manufacture, or are documented as having past compliance problems. However, this does not
preclude the selection of less therapeutically significant APIs to evaluate specific APIs (or
profile classes) not previously given in-depth coverage at the facility.

Investigators conducting API inspections should understand the general inspection strategy set
forth in this program. Recognizing that API firms vary greatly in size, diversity of operations,
and quality assurance systems, investigators should carefully plan their inspectional strategy at
each firm. Further guidance on preparing an inspection strategy appears later.


TRANSMITTAL# 2013–CPGM-CDER-002                                                              PAGE 11 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                           Filed 04/11/23      Page 106 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83226
COMPLIANCE PROGRAM GUIDANCE MANUAL                                         PROGRAM           7356.002F


Investigators should also review the firm’s rationale for the point at which CGMPs begin, which
is expected to vary by type of process (e.g., synthetic, fermentation, extraction, purification).

For an API inspection that is initiated by a pre-approval assignment, CP 7346.832, Pre-Approval
Inspections/Investigations, inspection time should be reported under the appropriate program
assignment codes referenced in both compliance programs based on the actual time spent in each
program.

INSPECTION APPROACHES

This program provides two surveillance inspectional options: Full Inspection Option and
Abbreviated Inspection Option. Either option may satisfy the biennial inspection requirement.

Full Inspection Option

    The Full Inspection Option is a surveillance or compliance inspection which is meant to
    provide a broad and in-depth evaluation of the firm’s conformity to CGMPs. The Full
    Inspection Option is an inspection of at least four of the six systems as listed in Part II and
    Appendix A of this program, one of which must be the Quality System.

    A Full Inspection is appropriate:
       a.  For an initial FDA inspection of a facility, or after a significant change in
       management or organizational procedures, such as might occur after a change in
       ownership.
       b.    For a firm with a history of non-compliance or a recidivist firm whose ability to
       comply is short-lived. To determine if the firm meets this criterion, the District should
       utilize all information at its disposal, such as current and past inspection findings, results
       of sample analyses, complaints, recalls, and compliance actions.
       c.   To evaluate if important changes have occurred in the firm’s state of control by
       comparing current operations against the EIR for the previous Full Inspection (e.g., by
       conducting a Full Inspection at every fourth inspection cycle.) In addition to changes in
       management or ownership, the following types of changes are typical of those that
       warrant the Full Inspection Option:
               i. New potential for cross-contamination arising through changes in processing
               or type of PIs using that equipment.
               ii. Use of new technology requiring new expertise, significant equipment
               changes and/or additions, or new facilities.
       d.    When District management or CDER specifically requests this option.
       e.    To follow up on a Warning Letter or other regulatory action.




TRANSMITTAL# 2013–CPGM-CDER-002                                                               PAGE 12 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                         Filed 04/11/23       Page 107 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83227
COMPLIANCE PROGRAM GUIDANCE MANUAL                                       PROGRAM           7356.002F


Abbreviated Inspection Option

    The Abbreviated Inspection Option is a surveillance or compliance inspection which is
    meant to provide an efficient update evaluation of the firm’s conformity to CGMPs. A
    satisfactory Abbreviated Inspection will provide documentation for continuing a firm in an
    acceptable CGMP compliance status. The Abbreviated Inspection Option is an inspection
    audit of at least two systems but not more than three systems, one of which must be the
    Quality System. During the course of an Abbreviated Inspection, verification of Quality
    System activities may require limited coverage in other systems.

    An Abbreviated Inspection is appropriate when the Full Inspection Option is not warranted,
    including:
       a.    To maintain surveillance over a historically compliant firm’s activities and to
       provide input to the firm on maintaining and improving the CGMP level of assurance of
       quality of its APIs.
       b.    When an intended Full Inspection finds objectionable conditions as listed in Part V
       of this program in one or more systems (a minimum of two systems must be completed)
       and District management and, as necessary, CDER Office of Compliance, concurs with
       reducing inspection coverage in order to expedite the issuance of a Warning Letter to
       correct violations.
Compliance Inspections

   Compliance Inspections are inspections done “for-cause” and to evaluate or verify corrective
   actions after a regulatory action has been taken. The coverage given in compliance
   inspections must be related to the areas found deficient and subjected to corrective actions.

   In addition, coverage must be given to other systems because a determination must be made
   on the overall compliance status of the firm after the corrective actions are taken. The firm is
   expected to address all of its operations in its corrective action plan after a previously
   violative inspection, not just the deficiencies noted in the FDA-483. The Full Inspection
   Option should be used for a compliance inspection, especially if the Abbreviated Inspection
   Option was used during the violative inspection.

   Compliance Inspections include “For-Cause Inspections.” For-Cause Inspections are for the
   purpose of investigating a specific problem that has come to the attention of the agency and
   may not result in the coverage of systems as described in this program. The problem may be
   identified by a complaint, recall, or other indicator of defective API or poorly controlled
   process. Coverage of these problems may be assigned under other compliance programs or
   PACs; however, expansion of the coverage to a CGMP inspection is to be reported under this
   program. For-Cause Inspections may be assigned under this program as the need arises.

SELECTING SYSTEMS FOR COVERAGE

A complete description of each system and the areas for coverage are in Appendix A of this
program. The selection of the system(s) for coverage and the relative depth or intensity of audit
TRANSMITTAL# 2013–CPGM-CDER-002                                                             PAGE 13 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                         Filed 04/11/23      Page 108 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83228
COMPLIANCE PROGRAM GUIDANCE MANUAL                                       PROGRAM          7356.002F


coverage should take into consideration the relative significance of a particular system for the
firm’s specific operating conditions, history of previous coverage, and history of CGMP
compliance. It is expected that a Full Inspection will not be conducted every two years at most
firms. Districts should select different systems for inspection coverage as a cycle of Abbreviated
Inspections is carried out to build comprehensive information on the firm’s total manufacturing
activities over time.

PREPARING THE INSPECTION STRATEGY

This guidance is in addition to that given in the Investigations Operations Manual (IOM).

   1.      Select two or more, as appropriate, systems for inspection coverage as guided by this
           program (see Inspection Approaches, above). Appendix A contains a detailed
           description of the inspection coverage to be given each system when selected for
           inspection.

   2.      Select significant APIs for inspection coverage, if not specified in the assignment.
           Significant APIs are those which utilize all the systems in the firm very broadly
           and/or use special manufacturing features, e.g., complex chemical synthesis, highly
           sensitizing material, material of an infectious nature, or a new chemical entity made
           under an approved drug application. Review the firm’s FACTS listing, Drug Master
           Files (DMF) or A/NDA files.

   3.      If a CDER product or CGMP/regulatory reviewer (compliance officer) is assigned to
           participate as a member of the inspection team, the lead investigator is to brief them
           on the intended inspection strategy and explain their supporting role and
           responsibilities for the inspection. The lead investigator should consult the reviewer
           on any specific A/NDA chemistry, manufacturing and controls issues (whether pre-
           market or post-market) to be covered during the inspection.

   4.      Review the impurity profile for each API process to be covered during the inspection
           and compare these to the impurity profiles submitted in the application or DMF, if
           filed. (Investigators and Chemists should be particularly familiar with USP <1086>
           Impurities in Official Articles.) If the impurity profile has not been filed to CDER,
           review the guidance on establishing impurity profiles in ICH Q3A and Q3C.

   5.      Review any compendia monographs for the APIs to be inspected to verify
           conformity, as appropriate.

   6.      Before or during the inspection, determine if the firm has made process changes by
           comparing current operations against the EIR for the previous inspection. Also
           compare the current operations with those filed in the DMF or the drug application to
           determine whether the firm is complying with commitments made to the agency. (See
           also CP 7346.832 for conducting a pre-approval inspection of an API.) The following
           changes are typical of those that would warrant extensive coverage during the
           inspection:

TRANSMITTAL# 2013–CPGM-CDER-002                                                             PAGE 14 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                          Filed 04/11/23     Page 109 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83229
COMPLIANCE PROGRAM GUIDANCE MANUAL                                       PROGRAM           7356.002F


           a.    New potential for cross-contamination arising through changes in API processes
           or product-type lines, to include processing numerous APIs of varying toxicity in
           common equipment and/or facilities.
           b.   Use of new technology requiring new expertise, significantly new equipment or
           new facilities.
           c.    Changes in starting materials, intermediates, equipment, facilities, support
           systems, processing steps, packaging materials, or computer software, particularly
           those that are not referenced in the DMF or application.
   7.      For foreign firms, Division of Medical Products and Tobacco Inspections (DMPTI)
           will assist investigators in obtaining file information from the appropriate CDER
           reviewing division or compliance unit. Investigators may also request background
           information about the site assigned for inspection directly from the US Agent before
           the initiation of the inspection.

SPECIAL INSPECTION REPORTING INSTRUCTIONS:

Investigators should describe in the EIR their inspection coverage and findings in sufficient detail
for further agency evaluation of the firm’s state of control and conformance to CGMPs. ICH Q7
may be used as a guideline in describing coverage and any findings and deficiencies observed.
However, do not reference specific ICH Q7 sections in the FDA 483 observations or in the EIR.
The FDA 483, if issued, is to be organized into sections for each of the systems covered. In
addition to the IOM format and information reporting requirements, all EIRs of API
manufacturers must include:

   1.      A list of APIs manufactured (or categories of drugs, if many) along with the general
           manufacturing process for each (e.g., chemical synthesis, fermentation, extraction of
           botanical material).

   2.      For foreign API manufacturers, the names, titles, complete mailing address, telephone
           and fax number of the firm’s U.S. Agent.

   3.      For foreign API manufacturers, a report of all APIs imported into the United States in
           the last two years, their consignees, and an estimate of the frequency and quantity of
           shipments to these consignees.

   4.      A description of each of the systems selected for coverage, (i.e., areas, processes, and
           operations), what was covered, who was interviewed, and what manufacturing
           activities were taking place during the inspection.

   5.      An explanation of the choice of APIs selected for coverage.

   6.      Any significant changes to a firm’s packaging, labeling, product line, or processes,
           particularly those changes not properly filed, submitted, or reported in a DMF or
           A/NDA.

TRANSMITTAL# 2013–CPGM-CDER-002                                                             PAGE 15 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                        Filed 04/11/23      Page 110 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83230
COMPLIANCE PROGRAM GUIDANCE MANUAL                                      PROGRAM          7356.002F


SPECIAL INSTRUCTIONS FOR FOREIGN DRUG INSPECTIONS

The Office of Medical Products and Tobacco Operations (OPMTO) schedules foreign
inspections, makes travel arrangements for inspection teams, and resolves logistical problems.
CDER’s Office of Pharmaceutical Quality/ Office of Quality Surveillance OPQ/OQS receives
and reviews all foreign establishment inspection reports, receives and reviews all foreign
firms’ responses to an FDA 483, and handles all correspondence regarding inspection
outcomes with foreign firms. CDER/OPQ/OQS maintains the complete file for each foreign
drug facility.

Investigators should instruct management at foreign firms to submit their original written
response to an FDA 483 directly to CDER OPQ/OQS, with a copy to the investigator. The
original response with appropriate documentation should be submitted via email to
CDEROSIAB@FDA.HHS.GOV

or to the following address:

Food and Drug Administration
Office of Quality Surveillance
Office of Pharmaceutical Quality
Center for Drug Evaluation and Research
Building 51, Room 4316
10903 New Hampshire Avenue
Silver Spring, Maryland 20993-0002
USA

Investigators and analysts are to submit their written comments to a foreign firm's response to
their issued FDA 483 directly to OPQ/OQS as soon as possible. After appropriate district office
review and endorsement, all foreign establishment inspection reports will be promptly forwarded
to OPQ/OQS for review and final classification.

CDER Office of Compliance (OC), Office of Manufacturing Quality (OMQ) will draft and
coordinate the issuance of Warning Letters, Untitled Letters, and other correspondence to foreign
firms. OC/OMQ will also recommend automatic detention of foreign firms/APIs, make
recommendations to review units, and request follow-up inspections, as appropriate.
                                                                                       [end Part III]




TRANSMITTAL# 2013–CPGM-CDER-002                                                              PAGE 16 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                        Filed 04/11/23      Page 111 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83231
COMPLIANCE PROGRAM GUIDANCE MANUAL                                      PROGRAM          7356.002F


                                   PART IV - ANALYTICAL

API samples collected by the investigator for the purpose of evaluating quality are to be
submitted to the appropriate servicing laboratory. A list of each analyzing laboratory for API
testing is maintained in Compliance Programs 7356.002 and 7346.832. However, it should be
noted that physical API samples are not required to support regulatory or administrative action
against a violative firm or drug.

Forensic Chemistry Center (FCC) will request profile (also called “forensic” and “fingerprint”)
samples of both foreign and domestic source APIs directly from the manufacturer. Investigators
are to collect API samples for profile analysis only upon specific request for collection from
FCC. Such requests will be made through DMPTPO. If an investigator is instructed to collect a
profile sample, FCC will provide specific instructions as to method and amount of collection and
shipping. FCC contact information is in Part VI, Program Contacts.

Prior to each foreign API site inspection, DMPTPO will provide FCC with the inspection dates,
the investigator’s name, firm’s name, address, telephone number, fax number, FEI number, any
related product and application numbers, and the name of the contact person. FCC will then
directly request a sample from the firm as needed. FCC may contact the investigator to request
their collection of any specific information. The inspection dates will provide FCC information,
so they can access FACTS to obtain the EIR coversheet.

FCC is responsible for API profile sample collection and analysis and will provide periodic
reports of such analysis and assist CDER in evaluating this program’s effectiveness.
                                                                                       [end Part IV]




TRANSMITTAL# 2013–CPGM-CDER-002                                                           PAGE 17 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                        Filed 04/11/23      Page 112 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83232
COMPLIANCE PROGRAM GUIDANCE MANUAL                                      PROGRAM          7356.002F


                 PART V - REGULATORY/ADMINISTRATIVE STRATEGY

An inspection report that documents that one or more systems is out of control should be
classified OAI. Districts may recommend the issuance of a warning letter in accordance with the
RPM. Normally, the issuance of a warning letter or the taking of other regulatory or
administrative action should result in a classification of all profile classes as unacceptable. A
CDER disapproval of a recommendation for warning letter or other regulatory action should
result in a classification of all profile classes as acceptable.

A warning letter with a CGMP charge (i.e., 501(a)(2)(B) adulteration) involving a domestic API
manufacturer requires CDER review and concurrence before issuance. See and follow FDA
Regulatory Procedures Manual procedures for clearing warning letters and untitled letters.

A recommendation for regulatory action for API CGMP deficiencies is to cite the statute
(501(a)(2)(B) or United States Code, 21 USC 351(a)(2)(B)) and not the finished pharmaceutical
regulations at 21 CFR 210 and 211. A recommendation should also not cite to ICH Q7, but may
use ICH Q7 as a guideline in describing the deficiencies observed. Any regulatory action based
upon CGMP noncompliance for APIs should demonstrate how the observed deviations could or
did result in actual or potential defects or risk to contamination. In evaluating whether to
recommend regulatory or administrative action, consider the critical attributes of the API, its
therapeutic significance, and its intended use in finished drug product manufacturing.

Evidence that supports a significant deficiency or pattern of deficiencies within a system may
demonstrate the failure of a system. A failure of a system puts all drugs at risk and is to be
promptly corrected. The following lists the deficiencies that should result in a recommendation
for regulatory action to CDER; other deficiencies may also warrant regulatory action:

   1.      Contamination of APIs with filth, objectionable microorganisms, toxic chemicals, or
           significant amounts of other types of chemicals, or a reasonable potential for such
           contamination because of a finding of a demonstrated route of contamination.
           (Facilities and Equipment System; Production System)

   2.      Failure to show that API batches conform to established specifications, such as NDA,
           USP, customer specifications, and label claims. See also Compliance Policy Guide
           (CPG) 7132.05. (Quality System)

   3.      Failure to comply with commitments in drug applications, including DMFs, which
           should be accurate and current with respect to all required information, such as
           manufacturing process, impurity profiles (if filed), and other specifications or
           procedures associated with the manufacture of the API. (Quality System)

    4.     Distribution of an API that does not conform to established specifications. (Quality
           System)




TRANSMITTAL# 2013–CPGM-CDER-002                                                           PAGE 18 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                          Filed 04/11/23      Page 113 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83233
COMPLIANCE PROGRAM GUIDANCE MANUAL                                        PROGRAM          7356.002F


   5.      Deliberate blending of API batches to dilute or hide filth or other noxious
           contaminants, or blending to disguise a critical quality defect in an attempt to obtain a
           batch that meets its specifications. (Production System)

   6.      Failure to demonstrate that water, including validation of the process water
           purification system, and any other solvents used in the final step of the API process
           are chemically and microbiologically suitable for their intended use and does not
           adversely alter the quality of the API. (Materials System)

   7.      Lack of adequate validation of critical steps in the API process, particularly
           concerning final separation and purification of the API, or when there is evidence that
           an API process is not adequately controlled. Lack of adequate control may be
           indicated by repeated batch failures or wide variation in final yields as compared to
           process average over time. See also the revised CPG 7132c.08, Process Validation
           Requirements for Drug Products and Active Pharmaceutical Ingredients Subject to
           Pre-Market Approval. (Quality System; Production System)

   8.      Implementation of retrospective process validation for an existing API process when
           the process has changed significantly, when the firm lacks impurity profile data, or
           when there is evidence of repeated batch failures due to process variability. (Quality
           System; Production System)

   9.      Failure to establish an impurity profile for each API process. FDA expects
           manufactures to establish complete impurity profiles for each API as part of the
           process validation effort. This includes collecting data on (1) actual and potential
           organic impurities that may arise during synthesis, purification, and storage of the
           API; (2) inorganic impurities that may derive from the API process; and (3) organic
           and inorganic solvents used during the manufacturing process that are known to carry
           over to the API. Impurity profile testing of each batch or after a specified number of
           batches may detect new impurities that may appear because of a deliberate or non-
           deliberate change in the API manufacturing process. (Laboratory Control System)

   10.     Failure to show that a reprocessed batch complies with all established standards,
           specifications, and characteristics. (Quality System; Laboratory Control System)

   11.     Failure to test for residues of organic/inorganic solvents used during manufacturing
           that may carry over to the API using analytical procedures with appropriate levels of
           sensitivity. (Laboratory Control System)

   12.     Failure to have a formal process change control system in place to evaluate changes
           in starting materials, facilities, support systems, equipment, processing steps, and
           packaging materials that may affect the quality of APIs. (All systems)

   13.     Failure to maintain batch and quality control records. (Quality System)

   14.     Incomplete stability studies to establish API stability for the intended period of use,
           and/or failure to conduct forced degradation studies on APIs to isolate, identify and
TRANSMITTAL# 2013–CPGM-CDER-002                                                              PAGE 19 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                        Filed 04/11/23      Page 114 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83234
COMPLIANCE PROGRAM GUIDANCE MANUAL                                      PROGRAM          7356.002F


           quantify potential degradants that may arise during storage. (Laboratory Control
           System)

   15.     Use of laboratory test methods that are inadequate or have not been validated; or, the
           use of an inadequately qualified or untraceable reference standard. (Laboratory
           Control System)

   16.     Packaging and labeling in such a way that introduces a significant risk of mislabeling.
           (Packaging and Labeling System)
                                                                                        [end Part V]




TRANSMITTAL# 2013–CPGM-CDER-002                                                            PAGE 20 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                           Filed 04/11/23       Page 115 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83235
COMPLIANCE PROGRAM GUIDANCE MANUAL                                         PROGRAM           7356.002F


       PART VI - REFERENCES, ATTACHMENTS, AND PROGRAM CONTACTS


REFERENCES

       Note regarding Guidance for Industry: Please review the guidance document posted at
       FDA’s website to ensure you use the current version. FDA guidance documents,
       including ICH guidance, are here:
       [http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/default.htm]

 1.    ICH Guidance for Industry: Q7 Good Manufacturing Practice Guidance for Active
       Pharmaceutical Ingredients, August 2001
 2.    ICH Guidance for Industry: Q11 Development and Manufacture of Drug Substances
 3.    ICH Q3A Impurities in New Drug Substances

 4.    ICH Q3C Impurities: Residual Solvents, and appendices

 5.    Compliance Program 7356.002, Drug Manufacturing Inspections, and related programs
       https://www.fda.gov/media/75167/download

 6.    Compliance Policy Guide 490.100 (7132c.08), Process Validation Requirements for
       Drug Products and Active Pharmaceutical Ingredients Subject to Pre-Market Approval
       [http://www.fda.gov/ICECI/ComplianceManuals/CompliancePolicyGuidanceManual/default.htm]

 7.    Compliance Policy Guide 420.400 (7132.05), Performance of Tests for Compendial
       Requirements on Compendial Products
       [http://www.fda.gov/ICECI/ComplianceManuals/CompliancePolicyGuidanceManual/default.htm]

 8.    The United States Pharmacopoeia / National Formulary (USP/NF) - available on-line
       through WebLERN

 9.    FDA Regulatory Procedures Manual
       [http://www.fda.gov/ICECI/ComplianceManuals/RegulatoryProceduresManual/default.htm     ]


ATTACHMENTS – none.

PROGRAM CONTACTS

Center for Drug Evaluation and Research (CDER)

       CGMP or any Quality-Related Policy Questions
       For CGMP or any quality-related policy question, technical or scientific questions or
       information needs, including questions about this program, please send an email to the
       following address and it will be handled as a top priority:

       CDER-OPQ-Inquiries@fda.hhs.gov

TRANSMITTAL# 2013–CPGM-CDER-002                                                                   PAGE 21 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                         Filed 04/11/23      Page 116 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83236
COMPLIANCE PROGRAM GUIDANCE MANUAL                                       PROGRAM            7356.002F

       Enforcement-Related Guidance or Policy
       For enforcement-related guidance or policy, including evidence need and sufficiency,
       citations, and case evaluation/recommendation advice, please send an email
       to the following address and it will be handled as a top priority:

       CDER OMQ Compliance Policy: CDEROMQCompliance@fda.hhs.gov

       Labeling Requirements and Policies
       Office of Unapproved Drugs and Labeling Compliance, see intranet home page for
       contacts
       [CDER | Office of Compliance | Office of Unapproved Drugs and Labeling Compliance]

       Registration and Drug Listing Requirements
       CDER Office of Compliance, see “CDER: Who’s the Lead” intranet page for contacts
       [CDER | Office of Communications | CDER: Who’s the Lead]




TRANSMITTAL# 2013–CPGM-CDER-002                                                              PAGE 22 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                      Filed 04/11/23   Page 117 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83237
COMPLIANCE PROGRAM GUIDANCE MANUAL                                   PROGRAM      7356.002F



Office of Regulatory Affairs (ORA)

 For questions on profile sampling of APIs: Food and Drug Administration

        Forensic Chemistry Center (HFR-MA500)
        Bulk Drug Group
        6751 Steger Dr.
        Cincinnati, Ohio 45237-3097
        Telephone: (513) 679-2700, extension 185 or 181
        Fax:          (513) 679-2761

Office of Medical Products and Tobacco Operations (OMPTO)

       Division of Medical Products and Tobacco Program Operations
       (OMPTO/DMPTPO)
       Telephone:    (301) 796-0358
       Email: ORAHQDrugInspectionPOC@fda.hhs.gov
       Office of Regulatory Science
       (ORS)
       Telephone:    (301) 796-7057
       Fax:          (301) 827-9806

Office of Enforcement and Import Operations (OEIO)

       Telephone:     (301) 796-5270
       Fax:           (301) 827-3631
                                                                                [end Part VI]




TRANSMITTAL# 2013–CPGM-CDER-002                                                     PAGE 23 OF 30
FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK
                      Document 2325-3                     Filed 04/11/23     Page 118 of 150
FOOD AND DRUG ADMINISTRATION
                        PageID: 83238
COMPLIANCE PROGRAM GUIDANCE MANUAL                                  PROGRAM         7356.002F


                         PART VII - CENTER RESPONSIBILITIES

Center responsibilities are as described in Drug Manufacturing Inspections Compliance Program
7356.002 and Pre-Approval Inspection/Investigations Compliance Program 7346.832
                                                                                  [end Part VII]




TRANSMITTAL# 2013–CPGM-CDER-002                                                       PAGE 23 OF 30
FORM FDA 2438g (electronic-02/2003)
     Case 1:19-md-02875-RMB-SAK
                           Document 2325-3                          Filed 04/11/23     Page 119 of 150
FOOD AND DRUG ADMINISTRATIONPageID: 83239
COMPLIANCE PROGRAM GUIDANCE MANUAL                PROGRAM          7356.002F           APPENDIX A



      APPENDIX A:           Description of Each System and Areas of Coverage

      QUALITY SYSTEM

      Assessment of the Quality System has two phases. The first phase is to evaluate whether the
      Quality Unit has fulfilled the responsibility to review and approve all procedures related to
      production, quality control, and quality assurance and assure the procedures are adequate for
      their intended use. This also includes the associated recordkeeping systems. The second phase is
      to assess the data collected to identify quality problems and may link to other major systems for
      inspectional coverage.

      For each of the following bulleted items, the firm should have written and approved procedures
      and documentation resulting therefrom. The firm’s adherence to written procedures should be
      verified through observation whenever possible. These areas are not limited to the final API’s,
      but may also include starting materials and intermediates. These areas may indicate deficiencies
      not only in this system but also in other systems that would warrant expansion of coverage. All
      areas under this system should be covered; however the actual depth of coverage may vary from
      the planned inspection strategy depending upon inspectional findings.
      •    Adequacy of staffing to ensure fulfillment of quality unit duties
      •    Periodic quality reviews as described in ICH Q7 Section 2.5, Product Quality Review;
           inspection audit coverage should include API types that are representative of
           manufacturing at this site; inspection audit should also examine some batch and data
           records associated with each API quality review to verify that firm’s review was
           sufficiently complete; and, audit should confirm that firm has identified any trends and has
           corrected or mitigated sources of unacceptable variation.
      •    Complaint reviews (quality and medical): documented; evaluated; investigated in a timely
           manner; includes corrective action where appropriate. Determine whether pattern of
           complaints and records of internal rejection or reprocessing/reworking of API batches
           warrant expanding the inspection.
      •    Discrepancy and failure investigations related to manufacturing and testing: documented;
           evaluated; critical deviations investigated in a timely manner and expanded to include any
           related APIs and material; includes corrective action where appropriate.
      •    Change Control (including “process improvements”): documented; evaluated; approved;
           need for revalidation assessed.
      •    Returns/Salvages: assessment; investigation expanded where warranted; final disposition.
      •    Rejects: investigation expanded where warranted; corrective action where appropriate.
      •    System to release raw materials.
      •    Batches manufactured since last inspection to evaluate any rejections or conversions (i.e.,
           from drug to non-drug use) due to processing problems.
      •    Reprocessing and/or reworking events are properly approved and evaluated for impact on
           material quality.
      •    Recalls (including any attempt to recover distributed API not meeting its specifications or
           purported quality), determine cause and corrective actions taken.
      •    Stability Failures: investigation expanded where warranted; disposition. Determine if
           stability data supports API retest or expiry dates and storage conditions.
      TRANSMITTAL# 2013–CPGM-CDER-002                                              APX. A        PAGE 24 OF 30
      FORM FDA 2438g (electronic-02/2003)
     Case 1:19-md-02875-RMB-SAK
                           Document 2325-3                             Filed 04/11/23     Page 120 of 150
FOOD AND DRUG ADMINISTRATIONPageID: 83240
COMPLIANCE PROGRAM GUIDANCE MANUAL                   PROGRAM          7356.002F           APPENDIX A


      •       Validation: Status of validation/revalidation activities (e.g., computer, manufacturing
              process, laboratory methods), such as reviews and approvals of validation protocols and
              reports.
      •       Training/qualification of employees in quality control unit functions.
      ICH Q7 references for Quality System:
          •      Section 2, Quality Management
          •      Section 13, Change Control
          •      Section 14, Rejection and Reuse of Materials
          •      Section 15, Complaints and Recalls
          •      Section 16, Contract Manufacturers (including laboratories).

      FACILITIES AND EQUIPMENT SYSTEM

      For each of the following, the firm should have written and approved procedures and
      documentation resulting therefrom. The firm’s adherence to written procedures should be
      verified through observation whenever possible. These areas may indicate deficiencies not only
      in this system but also in other systems that would warrant expansion of coverage. When this
      system is selected for coverage in addition to the Quality System, all areas listed below should be
      covered; however, the actual depth of coverage may vary from the planned inspection strategy
      depending upon inspectional findings.

      1. Facilities
      •       Cleaning and maintenance.
      •       Facility layout, flow of materials and personnel for prevention of cross-contamination,
              including from processing of non-drug materials.
      •       Dedicated areas or containment controls for highly sensitizing materials (e.g., penicillin,
              beta- lactams, steroids, hormones, and cytotoxics).
      •       Utilities such as steam, gas, compressed air, heating, ventilation, and air conditioning
              should be qualified and appropriately monitored (note: this system includes only those
              utilities whose output is not intended to be incorporated into the API, such as water used in
              cooling/heating jacketed vessels).
      •       Lighting, sewage and refuse disposal, washing and toilet facilities.
      •       Control system for implementing changes in the building.
      •       Sanitation of the building including use of rodenticides, fungicides, insecticides, cleaning
              and sanitizing agents.
      •       Training and qualification of personnel.

      2. Process Equipment
      •       Equipment installation, operational, performance qualification where appropriate.
      •       Appropriate design, adequate size and suitably located for its intended use.
      •       Equipment surfaces should not be reactive, additive, or absorptive of materials under
              process so as to alter their quality.
      •       Equipment (e.g., reactors, storage containers) and permanently installed processing lines
              should be appropriately identified.
      TRANSMITTAL# 2013–CPGM-CDER-002                                                 APX. A        PAGE 25 OF 30
      FORM FDA 2438g (electronic-02/2003)
     Case 1:19-md-02875-RMB-SAK
                           Document 2325-3                            Filed 04/11/23     Page 121 of 150
FOOD AND DRUG ADMINISTRATIONPageID: 83241
COMPLIANCE PROGRAM GUIDANCE MANUAL                  PROGRAM          7356.002F           APPENDIX A


      •       Substances associated with the operation of equipment (e.g., lubricants, heating fluids or
              coolants) should not come into contact with starting materials, intermediates, final APIs,
              and containers.
      •       Cleaning procedures and cleaning validation and sanitization studies should be reviewed to
              verify that residues, microbial, and, when appropriate, endotoxin contamination are
              removed to below scientifically appropriate levels.
      •       Calibrations using standards traceable to certified standards, preferably NIST, USP, or
              counterpart recognized national government standard-setting authority.
      •       Equipment qualification, calibration and maintenance, including computer
              qualification/validation and security.
      •       Control system for implementing changes in the equipment.
      •       Documentation of any discrepancy (a critical discrepancy investigation is covered under
              the Quality System).
      •       Training and qualification of personnel.

      ICH Q7 references for Facilities and Equipment System:
          •     Section 4, Buildings and Facilities
          •     Section 5, Process Equipment
          •     Section 6, Documentation and Records

      MATERIALS SYSTEM

      For each of the following, the firm should have written and approved procedures and
      documentation resulting therefrom. The firm’s adherence to written procedures should be
      verified through observation whenever possible. These areas are not limited to the final API, but
      may also incorporate starting materials and intermediates. These areas may indicate deficiencies
      not only in this system but also in other systems that would warrant expansion of coverage.
      When this system is selected for coverage in addition to the Quality System, all areas listed
      below should be covered; however, the actual depth of coverage may vary from the planned
      inspection strategy depending upon inspectional findings.
      •       Training/qualification of personnel.
      •       Identification of starting materials, containers.
      •       Storage conditions.
      •       Holding of all material and APIs, including reprocessed material, under quarantine until
              tested or examined and released.
      •       Representative samples are collected, tested or examined using appropriate means and
              against appropriate specifications.
      •       A system for evaluating the suppliers of critical materials.
      •       Rejection of any starting material, intermediate, or container not meeting acceptance
              requirement.
      •       Appropriate retesting/reexamination of starting materials, intermediates, or containers.
      •       First-in / first-out use of materials and containers.
      •       Quarantine and timely disposition of rejected materials.
      •       Suitability of process water used in the manufacture of API, including as appropriate the
              water system design, maintenance, validation and operation.
      TRANSMITTAL# 2013–CPGM-CDER-002                                                APX. A        PAGE 26 OF 30
      FORM FDA 2438g (electronic-02/2003)
     Case 1:19-md-02875-RMB-SAK
                           Document 2325-3                             Filed 04/11/23      Page 122 of 150
FOOD AND DRUG ADMINISTRATIONPageID: 83242
COMPLIANCE PROGRAM GUIDANCE MANUAL                   PROGRAM           7356.002F           APPENDIX A


      •       Suitability of process gas used in the manufacture of API (e.g., gas use to sparge a reactor),
              including as appropriate the gas system design, maintenance, validation and operation.
      •       Containers and closures should not be additive, reactive, or absorptive.
      •       Control system for implementing changes.
      •       Qualification/validation and security of computerized or automated process.
      •       Finished API distribution records by batch.
      •       Documentation of any discrepancy (a critical discrepancy investigation is covered under
              the Quality System).

      ICH Q7 references for Materials System:
          •      Section 7, Materials Management
          •      Section 10, Storage and Distribution
          •      Section 4.3, Water
          •      Section 6, Documentation and Records

      PRODUCTION SYSTEM

      For each of the following, the firm should have written and approved procedures and
      documentation resulting therefrom. The firm’s adherence to written procedures should be
      verified through observation whenever possible. These areas are not limited to the final API, but
      may also incorporate starting materials and intermediates. These areas may indicate deficiencies
      not only in this system but also in other systems that would warrant expansion of coverage.
      When this system is selected for coverage in addition to the Quality System, all areas listed
      below should be covered; however, the actual depth of coverage may vary from the planned
      inspection strategy depending upon inspectional findings.
      •       Training/qualification of personnel.
      •       Establishment, adherence, and documented performance of approved manufacturing
              procedures.
      •       Control system for implementing changes to process.
      •       Controls over critical activities and operations.
      •       Documentation and investigation of critical deviations.
      •       Actual yields compared with expected yields at designated steps.
      •       Where appropriate established time limits for completion of phases of production.
      •       Appropriate identification of major equipment used in production of intermediates and
              API.
      •       Justification and consistency of intermediate specifications and API specification.
      •       Implementation and documentation of process controls, testing, and examinations (e.g.,
              pH, temperature, purity, actual yields, clarity).
      •       In-process sampling should be conducted using procedures designed to prevent
              contamination of the sampled material.
      •       Recovery (e.g., from mother liquor or filtrates) of reactants; approved procedures and
              recovered materials meet specifications suitable for their intended use.
      •       Solvents can be recovered and reused in the same processes or in different processes
              provided that solvents meet appropriate standards before reuse or commingling.

      TRANSMITTAL# 2013–CPGM-CDER-002                                                  APX. A        PAGE 27 OF 30
      FORM FDA 2438g (electronic-02/2003)
     Case 1:19-md-02875-RMB-SAK
                           Document 2325-3                           Filed 04/11/23     Page 123 of 150
FOOD AND DRUG ADMINISTRATIONPageID: 83243
COMPLIANCE PROGRAM GUIDANCE MANUAL                  PROGRAM          7356.002F          APPENDIX A


      •       API micronization on multi-use equipment and the precautions taken by the firm to prevent
              or minimize the potential for cross-contamination.
      •       Process validation, including validation and security of computerized or automated process
      •       Master batch production and control records.
      •       Batch production and control records.
      •       Documentation of any discrepancy (a critical discrepancy investigation is covered under
              the Quality System).

      ICH Q7 references for Production System:
          •     Section 6, Documentation and Records
          •     Section 8, Production and In-Process Controls
          •     Section 12, Validation
          •     Section 18, Specific Guidance for APIs Manufactured by Cell Culture / Fermentation
      See also Compliance Program 7356.0002M for additional inspection guidance on fermentation,
      extraction, and purification processes.

      PACKAGING AND LABELING SYSTEM

      For each of the following, the firm should have written and approved procedures and
      documentation resulting therefrom. The firm’s adherence to written procedures should be
      verified through observation whenever possible. These areas are not limited to the final API, but
      may also incorporate starting materials and intermediates. These areas may indicate deficiencies
      not only in this system but also in other systems that would warrant expansion of coverage.
      When this system is selected for coverage in addition to the Quality System, all areas listed
      below should be covered; however, the actual depth of coverage may vary from the planned
      inspection strategy depending upon inspectional findings.
      •       Training/qualification of personnel.
      •       Acceptance operations for packaging and labeling materials.
      •       Control system for implementing changes in packaging and labeling operations
      •       Adequate storage for labels and labeling, both approved and returned after issued.
      •       Control of labels which are similar in size, shape, and color for different APIs.
      •       Adequate packaging records that will include specimens of all labels used.
      •       Control of issuance of labeling, examination of issued labels and reconciliation of used
              labels.
      •       Examination of the labeled finished APIs.
      •       Adequate inspection (proofing) of incoming labeling.
      •       Use of lot numbers, destruction of excess labeling bearing lot/control numbers.
      •       Adequate separation and controls when labeling more than one batch at a time.
      •       Adequate expiration or retest dates on the label.
      •       Validation of packaging and labeling operations including validation and security of
              computerized process.
      •       Documentation of any discrepancy (a critical discrepancy investigation is covered under
              the Quality System).


      TRANSMITTAL# 2013–CPGM-CDER-002                                               APX. A        PAGE 28 OF 30
      FORM FDA 2438g (electronic-02/2003)
     Case 1:19-md-02875-RMB-SAK
                           Document 2325-3                            Filed 04/11/23      Page 124 of 150
FOOD AND DRUG ADMINISTRATIONPageID: 83244
COMPLIANCE PROGRAM GUIDANCE MANUAL                  PROGRAM           7356.002F          APPENDIX A

      ICH Q7 references for Packaging and Labeling System
         • Section 9, Packaging and Identification Labeling of APIs and Intermediates
         • Section 17, Agents, Brokers, Traders, Distributors, Repackers, and Relabellers (applies
             to the handling of APIs after original site of manufacture and before receipt by the
             dosage manufacturer)

      LABORATORY CONTROL SYSTEM

      For each of the following, the firm should have written and approved procedures and
      documentation resulting therefrom. The firm’s adherence to written procedures should be
      verified through observation whenever possible. These areas are not limited to the final API, but
      may also incorporate starting materials and intermediates. These areas may indicate deficiencies
      not only in this system but also in other systems that would warrant expansion of coverage.
      When this system is selected for coverage in addition to the Quality System, all areas listed
      below should be covered; however, the actual depth of coverage may vary from the planned
      inspection strategy depending upon inspectional findings.
      •       Training/qualification of personnel.
      •       Adequacy of staffing for laboratory operations.
      •       Adequacy of equipment and facility for intended use.
      •       Calibration and maintenance programs for analytical instruments and equipment.
      •       Validation and security of computerized or automated processes.
      •       Reference standards; source, purity and assay, and tests to establish equivalency to current
              official reference standards as appropriate.
      •       System suitability checks on chromatographic systems.
      •       Specifications, standards, and representative sampling plans.
      •       Validation/verification of analytical methods.
      •       Required testing is performed on the correct samples and by the approved or filed methods
              or equivalent methods.
      •       Documentation of any discrepancy (a critical discrepancy investigation is covered under
              the Quality System).
      •       Complete analytical records from all tests and summaries of results.
      •       Quality and retention of raw data (e.g., chromatograms and spectra).
      •       Correlation of result summaries to raw data; presence and disposition of unused data.
      •       Adherence to an adequate Out of Specification (OOS) procedure which includes timely
              completion of the investigation.
      •       Test methods for establishing a complete impurity profile for each API process (note:
              impurity profiles are often process-related).
      •       Adequate reserve samples; documentation of reserve samples examination.
      •       Stability testing program, including demonstration of stability indicating capability of the
              test methods.

      ICH Q7 references for Laboratory System:
          •     Section 11, Laboratory Controls
          •     Section 6, Documentation and Records
          •     Section 12, Validation

      TRANSMITTAL# 2013–CPGM-CDER-002                                                 APX. A       PAGE 29 OF 30
      FORM FDA 2438g (electronic-02/2003)
     Case 1:19-md-02875-RMB-SAK
                           Document 2325-3                         Filed 04/11/23     Page 125 of 150
FOOD AND DRUG ADMINISTRATIONPageID: 83245
COMPLIANCE PROGRAM GUIDANCE MANUAL               PROGRAM          7356.002F          APPENDIX A


      ICH Q7 Sections 3, Personnel, and 6, Documentation and Records, apply to all systems.
      Section 19, APIs for Use in Clinical Trials, applies to APIs intended for the production of
      dosages solely for use in a clinical trial.

      The organization and personnel, including appropriate qualifications and training, employed in
      any given system, will be evaluated as part of that system’s operation. Production, control, or
      distribution records are required to maintain CGMPs and those selected for review should be
      included for inspection audit within the context of each of the above systems. Inspection of
      contract companies should be within the system for which the intermediate or API, or service is
      contracted and also include evaluation of their Quality System.

                                                                                        [end Appendix A]




      TRANSMITTAL# 2013–CPGM-CDER-002                                             APX. A       PAGE 30 OF 30
      FORM FDA 2438g (electronic-02/2003)
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 126 of 150
                               PageID: 83246




                         Exhibit 24
           Case
1/25/23, 10:42 AM 1:19-md-02875-RMB-SAK                  Document
                       FDA Statement on FDA's ongoing investigation       2325-3
                                                                    into valsartan        Filed
                                                                                   impurities      04/11/23
                                                                                              and recalls           Page
                                                                                                          and an update      127current
                                                                                                                        on FDA's  of 150findings I FDA
                                                                     PageID: 83247

                                                                       FDA STATEMENT


        FDA Statement on FDA's ongoing investigation into valsartan impurities and
                    recalls and an update on FDA's current findings
     For Immediate Release:
     August 30, 2018
     Statement From:                                                                                                                             Exhibit
                                                                                                                                              in Re: Valsanan
     Scott Gottlieb, M.D.
                                                                                                                                              Susan Bain
                                                                                                                                                  0003



     Millions of Americans take medication daily to control their blood pressure. We recently found that some generic versions of one
     medication, valsartan, contain an impurity that doesn't meet FDA's safety standards. Valsartan is an angiotensin II receptor
     blocker (ARB) that treats high blood pressure and heart failure. The FDA currently has a major operation underway to investigate
     and address this troubling finding. This investigation is led by a dedicated task force of experts focused solely on this important
     work. Their mandate is to oversee the investigation and track new developments and information coming in from valsartan
     manufacturers. This multidisciplinary team of chemists, toxicologists, medical doctors, pharmacists, investigators,
     communication specialists, and analytical lab staff coordinates across the FDA, and acts on the newest available information.

     As our investigation continues to identify the root cause of this impurity, we want to take the opportunity to describe to the public
     what we are doing to find the cause of the impurity, to prevent a recurrence of this episode and to protect patients who need this
     medication.

     On June 19, a U.S. manufacturer of valsartan products, Prinston Pharmaceuticals Inc., contacted the FDA's Center for Drug
     Evaluation and Research (CDER) about its products containing valsartan active pharmaceutical ingredient (API) manufactured
     by Zhejiang Huahai Pharmaceutical Co. (ZHP). Prinston informed CDER that they had stopped making valsartan products
     because ZHP had detected an impurity in the API - a chemical known as N-nitrosodimethylamine (NOMA). NOMA is a probable
     cancer-causing chemical found in trace amounts in water and some foods. However, the levels of NOMA in ZHP's valsartan API -
     while still trace amounts - were unacceptable.

     Although the risk to patients taking the affected products is extremely low, we take matters of pharmaceutical quality very
     seriously. We took immediate steps to address these findings.

     Shortly after initiating our investigation, we learned that a foreign regulator was also reviewing medications containing valsartan
     API manufactured by ZHP and considering a recall. We have closely coordinated with the European Medicines Agency, European
     Directorate for the Quality of Medicines, Regulatory Operations and Regions Branch and Therapeutic Products Directorate of
     Health Canada, and the Pharmaceuticals and Medical Devices Agency in Japan since that time, sharing information about our
     investigation with them and other regulatory bodies and learning about their findings.

     We recognized that we had to find answers to several important questions: How many U.S. valsartan products are affected?
     Where did the impurity come from? What are the potential health consequences of the impurity? How many patients are
     affected? How long h ave patients been exposed to NOMA? How do we ensure that patients and providers are informed so that
     health care is minimally disrupted? How do we prevent drug shortages? And could similar drugs also contain this impurity?

     Our first priority was to inform patients and health care providers. To do this, we had to verify the information about ZHP's API
     to understand the risk to U.S. patients and the scope of APis and products potentially affected by this impurity. We identified
     four manufacturers using valsartan API from ZHP for the U.S. market. We contacted them to ask if they knew about NOMA in
     their products and to recommend recalls of affected products. In addition to ZHP, we identified 13 other API manufacturers who
     supply more than 20 drug companies that make valsartan for the U.S. market. We made plans to determine if their products
     could also contain NOMA.


https://www.fda.gov/news-events/press-an nou ncements/fda-statement-fd as-ongoing-investig ation-valsa rtan-impurities-an d-recalls-and-update-fdas-cu . . .    1/ 4
         Case 1:19-md-02875-RMB-SAK
1/25/23, 10:42 AM                                          Document
                         FDA Statement on FDA's ongoing investigation       2325-3
                                                                      into valsartan        Filed
                                                                                     impurities      04/11/23
                                                                                                and recalls           Page
                                                                                                            and an update      128current
                                                                                                                          on FDA's  of 150findings I FDA
                                                              PageID:        83248
     By July 13, we had the information we needed to issue a press release (lnews-events/press-announcements/fda-announces-
     volunta[Y--recall-several-medicines-containing-valsartan-following-detection-impumy). stating that three companies had
     products containing NDMA and were voluntarily recalling them. One of the four manufacturers we initially identified required
     further investigation, but h as since voluntarilY. recalled (Ldmgs,ldrug:Safety-and-availability.Lfda:updates-valsartan-recalls) its
     products.

     However, we did not want patients tal<lng valsartan to hear this news and abruptly stop their medications, possibly suffering
     serious medical issues, such as stroke. We needed to let patients know the specific products impacted by the recalls, so they could
     talk to their health care providers and get prescriptions for products that had not been recalled. We began posting frequent
     updates to our website, listing first the valsartan products affected by the recall ((media/115390/download), followed by a list of
     the hundreds of products not affected ( /media/115393/download) at that time. We shared this information broadly across other
     communication channels known to reach consumers and health care providers, such as social media, newswires and email
     listservs. Because this is a continuing investigation, more manufacturers may discover that their valsartan products contain
     NDMA and take steps to voluntarily recall them. We encourage patients and prescribers to check these lists frequently for
     potential changes in the recall status of their medicine. We are continuing t o update this information on a regular basis and
     update consumers over our social media platforms to ensure broad reach.

     CDER toxicologists and chemists evaluated the risk to the public. On July 27, we shared ((drugs/drug-safetr.-and-
     availabili!)'/fda-updates-valsartan-recalls) what our scientists were able to estimate was the theoretical risk that the impurity
     could pose t o patients. We estimated that if 8,000 people took the highest valsartan dose (320 mg) from NDMA-affected
     medicines daily for four years (the amount of time we believed the affected products had been on the U.S. market), there may be
     one additional case of cancer over the lifetimes of these 8,000 people beyond the average cancer rate among Americans. This
     estimate represented the highest possible level of NDMA exposure. It was a measure of the risk under the most extreme
     circumst ances. Most patients who were exposed to the impurity through the use of valsartan received less exposure than this
     worst-case scenario.

     In St. Louis, the FDA maintains the most advanced pharmaceutical laboratory of any regulatory agency in the world. As soon as
     we were aware of the NDMA impurity in certain valsartan drugs, we began collecting samples of all valsartan API and products
     marketed in the U.S. At the same time, our scientists began developing a test to detect and quantify NDMA in valsartan API.
     NDMA's properties make it difficult t o find. To determine if valsartan products do contain this impurity, CDER's scientists have
     now developed the gas chromatography-mass spectrometry (GC/MS) headspace testing method. We .p oswi
     .( /files/drugs/published/GC-MS-Headspace-Preliminacy.-Method-for-Detection-of-NDMA-in-Valsartan-Drug-Substance.p,df).
     this method to the web to h elp manufacturers and regulators detect NDMA in valsartan API and t ablets .

     Based on information provided regarding ZHP's manufacturing processes, we believed (but did not have proof) that the impurity
     resulted from changes that ZHP made to the manufacturing process for its API. We needed to identify the root cause of the
     problem and evaluate ZHP's explanation. After assessing information about ZHP's manufacturing processes and the changes
     ZHP made over time, we identified how its processes could have led to the presence of NDMA in their API.

     Specifically, a combination of conditions, which include certain chemicals, processing conditions and production steps, could
     lead to formation of the NDMA impurity. We believe that these risks are introduced through a specific sequence of steps in the
     manufacturing process, where certain chemical reactions are needed to form the active ingredient. Before we undertook this
     analysis, neither regulators nor industry fully understood how NDMA could form during this process. We are still not 100
     percent sure that this is the root cause of the problem. Full understanding will require correlation of multiple test results from
     valsartan APis made by different processes with the various process steps used by different manufacturers or at different times.
     We need to determine h ow NDMA can be formed and why it is not separated from the API during purification.

     Once we understand the way or ways that the NDMA impurity can occur as a by-product of the manufacturing process, we will
     make sure these conditions are evaluated in API synthetic processes so that, in the future, testing for this impurity would be
     required if there was a risk of NDMA formation.

     NDMA is one chemical in a class called "genotoxic impurities". These chemicals are of special concern to global regulators
     because, unlike most impurities in drugs, they have the potential to cause harm at very low levels. The FDA has worked with
     international regulators t o create standards for mitigating the risk of such impurities. We have robust policies and procedures in
     place to guard against these risks.


https://www.fda.gov/news-events/press-an nou ncements/fda-statement-fd as-ongoing-investig ation-valsa rtan-impurities-an d-recalls-and-update-fdas-cu . . .   2/4
         Case 1:19-md-02875-RMB-SAK
1/25/23, 10:42 AM                                        Document
                       FDA Statement on FDA's ongoing investigation       2325-3
                                                                    into valsartan        Filed
                                                                                   impurities      04/11/23
                                                                                              and recalls           Page
                                                                                                          and an update      129current
                                                                                                                        on FDA's  of 150findings I FDA
                                                            PageID:        83249
     The FDA will continue to improve its procedures for guarding against these impurity risks. We will use the information that we
     learn from our investigation into valsartan to strengthen our oversight.

     In March 2018, the FDA issued a guidance ({media/858.85/download). for manufacturers that lays out risk assessements that
     manufacturers can use to evaluate the presence of genotoxic impurities. This is an internationally-harmonized guidance that both
     regulators and industry have agreed to. To implement the risk assessment for any genotoxic impurity, there has to be recognition
     that it can occur in the manufacture of the product. The guidance lays out the conditions under which these risks can occur, and
     the steps that manufacturers should take to test for these potential impurities.

     Under the agency's longstanding policies, manufacturers are required to test for impurities that may be introduced or develop
     during their manufacturing processes. We review that information in product applications, including requests to change the
     manufacturing process. We employ robust teams of organic chemists, as part of our newly established Office of Pharmaceutical
     Quality, to review applications and referenced information to look for steps - and manufacturing changes - where these risks
     could be introduced.

     The FDA also inspects manufacturing facilities across the world, and in routine current good manufacturing practices
     inspections, we can review a manufacturer's records regarding impurity testing. However, the review of records depends on
     appropriate tests to detect the impurity. Tests are selected based on assessments of what impurities may develop based on the
     manufacturing process. In other words, it needs to be recognized that the risk of an impurity can occur in order to know that it
     should be tested for.

     Recognizing these risks is based on a deep understanding of the chemistry involved in drug manufacturing, and the theoretical
     risk that an impurity could be a by-product of an essential step used in the manufacture of an active ingredient. When these
     impurities are identified, there are ways to re-engineer manufacturing processes to find pathways that don't create these by-
     products. Because it was not anticipated that NDMA would occur at these levels in the manufacturing of the valsartan API,
     manufacturers would not have been testing for it. They would not have records that help identify this issue during an inspection.
     So this particular risk would not have been identified on an inspection. As we develop a better understanding of the root cause of
     NDMA formation, and develop a way to detect NDMA in valsartan or other ARBs, we can ensure that appropriate testing is
     performed in the future.

     Based on our analyses of the manufacturing processes, we are now testing all the products in the ARB class to determine if they
     contain NDMA. In some cases, the steps in the synthesis of other ARBs can have similarities to the synthesis ofvalsartan. These
     tests will continue until we identify all products that may contain NDMA in the ARB class, and they are no longer available in the
     U.S. And our robust investigation continues, as do our efforts to mitigate these risks and prevent them from recurring.

     The FDA has also inspected ZHP in response to this problem and the agency may re-inspect ZHP and inspect other
     manufacturers of valsartan API in the future. The FDA is coordinating with companies to take swift action to remove any
     products found with unacceptable amounts of NDMA from the U.S. market.

     The initial recall has expanded to now include five manufacturers and other companies who repackage those products under a
     different name. More products may need to be recalled. At the same time, the FDA is working to make certain that patients have
     access to the treatment that they need. Currently, more than half of all valsartan products on the market are being recalled. But
     prescribers can find a similar replacement product within the same class to substitute for patients who require this medication.

     We are also working very closely with global regulatory agencies, including the European Medicines Agency. The task force the
     FDA formed exchanges information with regulatory counterparts around the world including inspection findings, laboratory test
     method and results, and our scientific assessment of the cause of this problem and its impact on patients. While not every
     manufacturing site produces drugs for all countries, we believe sharing this information is vital to advancing our ongoing
     investigation. It enables us to address emerging issues quickly in a way that benefits U.S. patients. This includes monitoring
     actions other regulators are taking as part of their investigations. For example, international regulators have identified another
     API manufacturer, Zhejiang Tianyu Pharmaceutical Co., with NDMA in its valsartan APL But the FDA has confirmed that no
     valsartan products in the U.S. market use this APL

     The FDA will continue to work closely with providers and patients to address health care needs.




https://www.fda.gov/news-events/press-an nou ncements/fda-statement-fd as-ongoing-investig ation-valsa rtan-impurities-an d-recalls-and-update-fdas-cu . . .   3/4
         Case 1:19-md-02875-RMB-SAK
1/25/23, 10:42 AM                                          Document
                        FDA Statement on FDA's ongoing investigation       2325-3
                                                                     into valsartan        Filed
                                                                                    impurities      04/11/23
                                                                                               and recalls           Page
                                                                                                           and an update      130current
                                                                                                                         on FDA's  of 150findings I FDA
                                                             PageID:        83250
     The news of the recall caused a significant public response. Consumers were rightly concerned. CDER has a skilled group of
     pharmacists and nurses who manage a toll-free number Uabout-fda/about-center-drug-evaluation-and-research/cder-divisjon-
     drug-jnformation) (855-543-3784) and answer email inquiries (druginfo.@fda.hhs.gQY (mailto:druginfo.@fda.hhs.gQY).) from the
     public. Since the first news of a recall, the FDA has received more than 6,000 inquiries from patients, physicians, nurses,
     pharmacists and academicians. We take these inquiries very seriously, and we strive to answer all of them. The public wants to
     know how to get safe valsartan, what to tell their pharmacists, if they should stop taking their medications and how to calculate
     their risk for cancer if they have been taking affected valsartan for several years. It was these questions, in part, that prompted
     the FDA to conduct its analYfilS_.(,Ldrug5Ldrug:Safet.Y--and-availability.L.fda:ypdates-valsartan-recalls) of the risk that NDMA posed.

     As we develop a better understanding of the manufacturing process conditions that ZHP used that can cause the impurity, we will
     use that knowledge to inform assessments of product applications being submitted and currently reviewed by the FDA We will
     disseminate that information to manufacturers of all drugs and to the scientific community and re-evaluate our existing guidance
     to manufacturers. In addition, the test method we developed for identifying NOMA helps us to prioritize assessments and
     inspections of manufacturing sites. The information we gather throughout this investigation will give us a better understanding
     of the manufacturing processes and will strengthen our efforts to keep the U.S. drug supply safe for patients.

     In addition to our ongoing investigation, we will continue to update our website ( /drugs/drug-safet)'.-and-availability/fda-
     updates-valsartan-recalls)_, detailing lists of all recalled and non-recalled valsartan products as well as advice for patients and
     prescribers. We will also disclose our test results. This is a serious matter that is being managed closely by the FDA's leadership.
     As described above,we have a robust effort underway to evaluate these risks, led by a team of some of our most experienced
     scientists and clinicians. As we continue to investigate this episode, and develop new information, we will update the public
     regularly. We are committed to identifying the root causes of this impurity being found in valsartan, and taking steps to reduce
     the risk that similar episodes occur in the future.

     The FDA, an agency within the U.S. Department of Health and Human Services, protects the public health by assuring the safety,
     effectiveness, and security of human and veterinary drugs, vaccines and other biological products for human use, and medical
     devices. The agency also is responsible for the safety and security of our nation's food supply, cosmetics, dietary supplements,
     products that give off electronic radiation, and for regulating tobacco products.


     Related Information
     FDA updates on valsartan recalls (,LdrugsLdrug::SafetY--and-availability_Lfda:ypdates-valsartan-recalls)

                                                                              ###




     Inquiries
     Media:
     IS Jeremy Kahn (m.ai!.1Q;jmy kahn@fda.hhs.gmi).
     \. 301-796-8671

     Consumer:
     \. 888-INFO-FDA



                                            0 More Press Announcements (/ news-events/ newsroom/press-announcements)




https://www.fda.gov/news-events/press-an nou ncements/fda-statement-fd as-ongoing-investig ation-valsa rtan-impurities-an d-recalls-and-update-fdas-cu . . .   4/4
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 131 of 150
                               PageID: 83251




                         Exhibit 25
       Case 1:19-md-02875-RMB-SAK               Document 2325-3        Filed 04/11/23           Page 132 of 150
                                                  PageID: 83252               U.S. Food and Drug Administration
              U.S. FOOD & DRUG                                                 10903 New Hampshire Avenue
              ADMINISTRATION                                                  Silver Spring, MD 20993
                                                                               www.fda.gov




        Via UPS                                                       Warning Letter: 320-19-04
         Return Receipt Requested


         November    29, 2018

        Mr. Jun Du
        Executive Vice President
        Zhejiang Huahai Pharmaceutical Co., Ltd.
        Coastal Industrial Zone, Chuannan No. | Branch No. 9

        Donghai Fifth Avenue, Linhai, Taizhou Zhejiang 317016
         CHINA

        Dear Mr. Du:


        The U.S. Food and Drug Administration (FDA) inspected your drug manufacturing facility,
        Zhejiang Huahai Pharmaceutical Co., Ltd., located at Coastal Industrial Zone, Chuannan No.
        Branch No. 9, Donghai Fifth Avenue, Linhai, Taizhou Zhejiang, from July 23 to August 3, 2018.
                                                                                                                  |
        This warning letter summarizes significant deviations from current good manufacturing              practice
        (CGMP)      for
                    active pharmaceutical ingredients (API).


         Because your methods, facilities, or controls for manufacturing,   processing, packing, or holding do
        not conform to CGMP, your API      are adulterated within the meaning of section 501(a)(2)(B) of the
         Federal    Food, Drug, and Cosmetic Act (FD&C Act), 21 U.S.C.      351(a)(2)(B).

        We    reviewed your August 26, 2018, response in detail and acknowledge receipt of your             subsequent
          correspondence.


         During our inspection, our investigators observed specific deviations including, but not limited to,
        the     following.

         1.     Failure of your quality unit to ensure that quality-related complaints are investigated and
                resolved.


         Valsartan API


         Your   firm received a complaint from a customer on June 6, 2018, after an unknown peak was
                during residual solvents testing for valsartan API manufactured at your facility. The
         detected
         unknown peak was identified as the probable human carcinogen N-nitrosodimethylamine
         (NDMA). Your investigation                  determined that the presence of NDMA         was
                                                                                                  caused

        by the convergence of three process-related factors, one factor being the use of the solvent
          dimethylformamide     (DMF). Your investigation concluded that only one valsartan         manufacturing




RESTRICTED      CONFIDENTIAL    INFORMATION                                                                PRINSTONO0077339
       Case 1:19-md-02875-RMB-SAK                             Document 2325-3          Filed 04/11/23    Page 133 of 150
                                                              i
                                                                PageID: 83253
        Zhejiang     Huahai Pharmaceutical   Co.,    Lt               3003:                                           age 2




         process     (referred to as the                  process in your investigation) was impacted by the presence of
         NDMA.

         However,       FDA analyses of samples of your API, and finished drug product manufactured with your
         API, identified       NDMA in multiple batches manufactured with a different process, namely the
         triethylamine process, which did not use the solvent DMF. These data demonstrate that your
          investigation was inadequate and failed to resolve the control and presence of NDMA    valsartan  in
        API distributed to customers.               Your investigation also failed:

        e       To include other factors that may have contributed to the presence of NDMA. For example,
                your investigation lacked a comprehensive evaluation of               all
                                                                             raw materials used during
                manufacturing, including potable water.

        e-      To assess factors that could put your API            at risk for NDMA cross-contamination, including
                batch blending, solvent recovery and re-use, shared production lines, and cleaning             procedures.


        e       To evaluate the potential for other mutagenic impurities to form in your products.

         Our investigators also noted other examples of your firm’s inadequate investigation of unknown
         peaks observed in chromatograms. For example, valsartan intermediates (C20213-17-339 and
          C20213-17-340) failed testing for an unknown impurity (specification < 0.5%) with results of
         0.56% for both batches. Your action plan indicated that the impurity would be identified as part of
        the investigation; however, you failed to do this. In addition, no root cause was determined      the     for
         presence of the unknown impurity. You stated that you reprocessed     the batches and released them
        for further production.

         Your response states that NDMA was difficult to detect. However, if you had investigated further,
         you may have found indicators in your residual solvent chromatograms alerting you to the presence
        of NDMA.For example, you told our investigators you were aware of a peak that eluted after the
        toluene peak in valsartan API residual solvent chromatograms where the presence of NDMA was

        suspected to elute. At the time of testing, you considered this unidentified peak to be noise and
          investigated no further. Additionally, residual solvent chromatograms              for valsartan API validation
         batches manufactured using your ZnCl2 process, with DMF          2012    in                          C5355-12-002,
         and     C5355-12-003) show at least one unidentified peak eluting after the toluene peak in the area
         where the presence of NDMA was suspected                   to elute.
         Your           also states that you were not the only firm to identify NDMA in valsartan API. In
                   response
         your case,   FDA  analyses of samples identified amounts of NDMA in valsartan API manufactured at
         your firm that were significantly higher than the NDMA levels in valsartan API manufactured by
         other firms. FDA has grave concerns about the potential presence of mutagenic impurities      all       in
          intermediates and API manufactured at your facility, both because of the data indicating the

         presence of impurities in API manufactured by multiple processes, and because of the significant
             inadequacies   in your investigation.
         In response to this letter:




RESTRICTED      CONFIDENTIAL        INFORMATION                                                                  PRINSTONO0077340
       Case 1:19-md-02875-RMB-SAK                          Document 2325-3               Filed 04/11/23   Page 134 of 150
                                                             PageID: 83254
                                           ical   Co.,   China   FEI   3003885745                                        age 3



        e     Submit risk assessments for all APIs and intermediates manufactured at your facility for the
               potential    presence of mutagenic impurities.

        e     Provide an update on investigations and CAPA plans initiated to address the presence of
              NDMA and other potential mutagenic impurities in all APIs manufactured at your firm.

        e     Provide a thorough, independent assessment                 of
                                                                 your overall system for investigating deviations,
               discrepancies, out-of-specification (OOS) results, complaints, and other failures. In addition,
              provide a retrospective review of          all
                                                     distributed batches within expiry to determine if your firm
              released batches that did not conform to established specifications or appropriate manufacturing
               standards.


        e     Provide test results for all angiotensin II receptor blockers (ARBs) and intermediates for the
               presence     of NDMA, N-Nitrosodiethylamine (NDEA), and other potentially                  mutagenic
               impurities.

         Levetiracetam        API

        Your firm received a customer complaint on September 13, 2016, concerning levetiracetam API
         batches (C5152-16-243 and C5152-16-254) that exceeded the specification for ethyl carbamate

        (< 0.24 ppm). Ethyl carbamate has been classified as a probable human carcinogen. Your
         customer’s test results conflicted with your ethyl carbamate test results, which showed the two
        batches meeting the specification upon release. Your complaint investigation (CC-16008) identified
        no clear laboratory error, and no anomalies were detected during the production of the batches.
         Your investigation failed to evaluate other levetiracetam API batches to determine               if
                                                                                               the presence of
         excess ethyl carbamate was an adverse trend. For example, levetiracetam batches C5152-16-244,
          C5152-16-250, and C5152-16-251 were OOS                      for
                                                             ethyl carbamate because of production errors;
         however, they were not discussed in your complaint                     investigation.


         Your response states that levetiracetam    API batches C5152-16-243 and C5152-16-254 were
            returned, reprocessed, and released to customers in non-U.S. markets.

         Your response also states that in August 2017 you implemented a new ethyl carbamate test method
         that uses atriple quadrupole LC-MS/MS method, to replace the single quadrupole LC-MS method
         that was prone to erroneous OOS results. You failed to verify the reliability of the ethyl                   carbamate
         results for all levetiracetam API batches (including levetiracetam batch C5152-16-254) originally
            released using your single quadrupole LC-MS method, which you indicated was inferior to your
            updated method.


        In response to this letter,           provide:


         e     Arisk       assessment   for all levetiracetam API batches manufactured within expiry.
         e       revised complaint handling procedure and details of any further controls your facility has
               implemented to ensure that all complaints are adequately documented and thoroughly
                investigated.




RESTRICTED     CONFIDENTIAL             INFORMATION                                                               PRINSTONO0077341
       Case 1:19-md-02875-RMB-SAK                      Document 2325-3         Filed 04/11/23   Page 135 of 150
                                                         PageID: 83255
        Zhejiang Huahai Pharmaceutical Co., Ltd., China   FEI   3003885745                                page 4




        e     Procedures for accepting and reprocessing returned drugs.

        e     Results of ethyl carbamate testing of all levetiracetam API batches released to the U.S. market
              using your updated triple quadrupole LC-MS/MS ethy] carbamate test method.


        2.    Failure to evaluate the potential effect that changes in the manufacturing process may
              have on the quality of your API.


        In November 2011 you approved a valsartan API process change (PCRC - 11025) that included the
        use of the solvent DMF. Your intention was to improve the manufacturing process, increase product

        yield, and lower production costs. However, you failed to adequately assess the potential formation
        of mutagenic impurities when you implemented the new process. Specifically, you did not consider
        the potential for mutagenic or other toxic impurities to form from DMF degradants, including the

         primary DMF degradant, dimethylamine. According to your ongoing investigation, dimethylamine
        is required for the probable human carcinogen NDMA             to
                                                                  form during the valsartan API
          manufacturing process. NDMA was  identified in valsartan API manufactured at your facility.

        You   also failed to evaluate the need for additional analytical methods to ensure that    unanticipated
         impurities were appropriately detected and controlled in your valsartan API before you approved
        the process change. You are responsible for developing and using suitable methods to detect

         impurities when developing, and making changes to, your manufacturing processes. If new or
         higher levels of impurities are detected, you should fully evaluate the impurities and take action to
         ensure the drug is safe for patients.


         Your    response states
                              that predicting NDMA formation during the valsartan manufacturing process
         required an extra dimension over current industry practice, and that that your process development
        study was adequate. We disagree. We remind you that common industry practice may not always
        be consistent with CGMP requirements and that you are responsible for the quality of drugs you

         produce.


         Your response does not describe sufficient corrective actions to ensure that your firm has adequate
         change management procedures             in
                                           place: (1) to thoroughly evaluate your API manufacturing
         processes, including changes          to
                                        those processes; and (2) to detect any unsafe impurities, including
         potentially mutagenic impurities. For FDA’s current thinking on control of potentially mutagenic
          impurities, see FDA’s guidance document           Assessment and Control of DNA Reactive
         (Mutagenic)    Impurities in Pharmaceuticals To Limit Potential Carcinogenic Risk for approaches
         that FDA considers appropriate for evaluating           mutagenic impurities,   at

                https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UC
            M347725.pdf.

         In response    to   this   letter, provide:

        e     Detailed revised change management procedures describing how your firm will assess and
              control all impurities, including mutagenic impurities, in API and intermediates manufactured        at
               your   facility.




RESTRICTED    CONFIDENTIAL            INFORMATION                                                      PRINSTONO0077342
       Case 1:19-md-02875-RMB-SAK                         Document 2325-3            Filed 04/11/23     Page 136 of 150
                                                            PageID: 83256
        Zhejiang Huahai Pharmaceutical Co., Ltd., China        FEI   3003885745                                       page 5



        e       Detailed procedures describing how your firm establishes impurity profiles for products
                 manufactured at your firm. These procedures should contain instructions for comparing at

                 appropriate  intervals against the impurity profile in the regulatory submission, or for comparing
                against  historical data, to detect changes to the API resulting from modifications in raw
                materials, equipment operating parameters, or the production process.


        e       A retrospective analysis of other API and intermediates manufactured at your firm to determine
                if they were adequately evaluated for anticipated and unanticipated impurities, including
                potentially mutagenic       impurities.


         CGMP consultant           recommended


         Based upon      the
                        nature of the deviations we identified at your firm, we strongly recommend
         engaging a consultant qualified to evaluate your operations and assist your firm in meeting   CGMP
          requirements. Your use of a consultant does not relieve your firm’s obligation to comply with
         CGMP. Your firm’s executive management remains responsible for fully resolving                   all
                                                                                                  deficiencies
        and ensuring ongoing CGMP             compliance.

         Quality Systems Guidance

         Your   firm’s quality systems are inadequate. For guidance on establishing and following CGMP
            compliant   quality systems, see FDA’s guidances: O8(R2) Pharmaceutical Development, at
                https://www.fda.gov/downloads/drugs/guidances/ucm073507.pdf; O9 Quality Risk Management, at
                https://www.fda.gov/downloads/Drugs/Guidances/ucm073511.pdf;  and O10 Pharmaceutical
         Ouality System, at          https://www.fda.gov/downloads/drugs/guidances/ucm073517.pdf.

            Additional      API CGMP guidance

         FDA    considers the expectations outlined in ICH Q7 in determining whether API are                    manufactured
        in conformance with CGMP. See FDA’s guidance document O7 Good Manufacturing Practice
        Guidance for Active Pharmaceutical Ingredients for guidance regarding CGMP     the manufacturefor
        of API,    at https://www.fda.gov/downloads/Drugs/.../Guidances/ucm073497.pdf.

            Conclusion


         Deviations cited in this letter are not intended as           an all-inclusive list. You are responsible for
            investigatingthese deviations, for determining the causes, for preventing their recurrence, and for
            preventing other  deviations.


        If you are considering an action that is likely to lead to a disruption in the supply of drugs produced
        at your facility, FDA requests that you contact CDER’s Drug Shortages Staff immediately, at

               drugshortages@fda.hhs.gov,      so that FDA can work with you on the most effective way          to bring
         your operations into compliance  with the law. Contacting the Drug Shortages Staff also allows you
        to   meet any obligations you may have            to
                                                   report discontinuances             or
                                                                              interruptions in your drug
            manufacture under 21 U.S.C. 356C(b) and allows FDA               to
                                                                     consider, as soon as possible, what




RESTRICTED      CONFIDENTIAL      INFORMATION                                                                      PRINSTONO0077343
       Case 1:19-md-02875-RMB-SAK                           Document 2325-3              Filed 04/11/23   Page 137 of 150
                                                              PageID: 83257
        Zhejiang Huahai Pharmaceutical Co., Ltd., China         FEI   3003885745                                      page 6



         actions,    if any, may be needed to avoid shortages and protect the health of patients who depend on
         your    products.


        FDA placed your firm on Import Alert 66-40 on September 28, 2018.

                        all deviations completely and we confirm your compliance with CGMP, FDA
         Until you correct
         may withhold approval of any new applications or supplements listing your firm as a drug
         manufacturer.


         Failure to correct these deviations may also result in FDA continuing to refuse admission of articles
         manufactured at Zhejiang Huahai Pharmaceutical Co., Ltd., located at Coastal Industrial Zone,
         Chuannan  No. | Branch No. 9, Donghai Fifth Avenue, Linhai, Taizhou Zhejiang, into the United
         States under section 801(a)(3) of the FD&C Act, 21 U.S.C. 381(a)(3). Under the same authority,
         articles may be subject to refusal of admission, in that the methods and controls used     their    in
          manufacture do not appear to conform to CGMP                  within
                                                                    the meaning of section 501(a)(2)(B) of the
         FD&C Act, 21 U.S.C.               351(a)(2)(B).

         After you receive this letter, respond            to
                                                this office in writing within 15 working days. Specify what
         you have done since our inspection to correct your deviations and to prevent their recurrence. If you
         cannot complete corrective actions within 15 working days, state your reasons for delay and your
         schedule for        completion.


         Send your electronic reply to             CDER-OC-OMQ-Communications@fda.hhs.gov                 or mail your reply
        to:


         Rory K. Geyer
         Compliance Officer
         U.S. Food and Drug Administration
         White Oak Building 51, Room 4235
         10903 New Hampshire Avenue
         Silver Spring, MD 20993
         USA


         Please     identify your response with FEI 3003885745.

                                                                      Sincerely,




                                                                      Francis   Godwin
                                                                      Acting Director
                                                                      Office of Manufacturing Quality
                                                                      Office of Compliance
                                                                      Center for Drug Evaluation and Research




RESTRICTED      CONFIDENTIAL        INFORMATION                                                                    PRINSTONO0077344
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 138 of 150
                               PageID: 83258




                         Exhibit 26
    Case 1:19-md-02875-RMB-SAK                  Document 2325-3            Filed 04/11/23        Page 139 of 150
                                                  PageID: 83259



     Notice on the Results of the Report of the Preliminary Investigation on the Formation of
     Unknown Impurities Resulting from the Sodium Azide Quenching in Crude lrbesartan

      Jinsheng LIN

      To: Jucai GE, Tianpei HUANG, Wangwei CHEN, Wenquan ZHU, Wenbin CHEN, Mr. Li, Peng DONG, Lihong LIN,
      Yanfeng LIU, Peng WANG, Wenling ZHANG           07/27/2017 Detailed Info rmation

      Valsartan Impurity K.pdf (846 KB)

      Ms.Ge:

      According to t he results of our telephone communication w ith the Technology Department of Chuannan Plant 1
      today, due to t he incomplete quenching of sodium azide caused by the separate treatment of irbesartan sodium
      azide wastewater, t here is t he frequent occurrence of muffled explosion in t he production process, so the
      Technology Department carried out t he technical improvement by which the sodium azide quenching takes
      place in t he unstratified step in t he crude irbesartan process. However, after the improvement, there is an
      unknown impurity of about 0.544% at 26 minutes in the crude irbesartan, and it is t he largest impurity in the
      irbesartan crude product.




                                                                                                           Min Li

                                                                                                     ZHP-296
                                                                                                           4/20/2021




RESTRICTED CONFIDENTIAL INFORMATION                                                                              ZHP00190573
    Case 1:19-md-02875-RMB-SAK                      Document 2325-3              Filed 04/11/23          Page 140 of 150
                                                      PageID: 83260




      Through the secondary mass spectrometry analysis, it can be infe rred that the extra NO substit uent is in t he
      cyclic compound fragment, and it is very likely that it is an N-NO compound; it is similar to the N-
      nit rosodimethylamine that occurs in valsartan when quenched with sodium nitrite, and its structure is very
      toxic. Its possible formation route is s hown as follows :




      In o rder to further ve rify the structure of the impurity and its formatio n mechanism, we plan to s imulate t he
      quenching conditio ns a nd use the fi nished lrbesartan product to react with NaNO2 a nd HCI to monitor the
      impurity produced by t he reaction, a nd then separate it for NMR fo r fi nal structural verification, while
      s imulta neously carrying out the confirmatio n of t he impurity by multi-stage MS.

      If it is confirmed as the above speculated structure, then its toxicity will be very strong, and t here will be an
      extremely high GMP risk. This is a common problem in the production a nd synthesis of sartan APls. It is
      recommended to improve other que nching processes (such as NaCIO) along with the optimization of the
      valsartan sodium azide quenching process.

      I've also attached a patent of a 2013 sodium azide NaCIO quenching method by Zhejia ng Second Pharma Co.,
      Ltd. t hey proposed that t he use of Na NO2 quenching will result in the formation of N-NO impurit ies. At t he
      same time, they used ZHP's crude Valsartan in their LC-MS test and detected this impurity. This indicates that
      other companies have paid atte nt ion to the quality problem very earl y on. So leaders please pay attention to
      t his issue.

      Jinsheng LI N

      CEMAT

      2017/07/27




RESTRICTED CONFIDENTIAL INFORMATION                                                                                        ZHP00190574
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 141 of 150
                               PageID: 83261




                         Exhibit 27
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 142 of 150
                               PageID: 83262
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 143 of 150
                               PageID: 83263
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 144 of 150
                               PageID: 83264
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 145 of 150
                               PageID: 83265
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 146 of 150
                               PageID: 83266
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 147 of 150
                               PageID: 83267
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 148 of 150
                               PageID: 83268
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 149 of 150
                               PageID: 83269
Case 1:19-md-02875-RMB-SAK   Document 2325-3   Filed 04/11/23   Page 150 of 150
                               PageID: 83270
